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                 9                           UNITED STATES DISTRICT COURT

               10                            CENTRAL DISTRICT OF CALIFORNIA
               1 1 ALEC FISHER, Individually and on                                Case No.: EDCV12 - 02188 VAP (OPx)
                                                                            )
CYcM~          12 Behalf of All Others Similarly Situated, ) Class Action
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                                                                            )
                                              Plaintiff,                    )      COMPLAINT
               14                                                           )
                                vs.                                         )
               15                                                                  DEMAND FOR JUY TRIAL
                                                                            )
               16 MONSTER      BEVERAGE )
               18 )
               17 CORPORATION, MONSTER ENERGY)
                  COMPANY, and DOES 1 -20, inclusive, )

               19 Defendants.)
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     1 Plaintiff, Alec Fisher, by and through the undersigned counsel, brings this

     2 consumer class action both individually and on behalf of all others similarly
     3 situated, against defendants Monster Beverage Corporation ("MBC") and Monster
     4 Energy Company ("MEC") (collectively, "Defendants" or the "Company").
     5 Plaintiffs allegations are based on information and belief formed after an inquiry

     6 reasonable under the circumstances and are likely to have evidentiary support after
     7 reasonable opportunity for further investigation and discovery, except where
     8 specifically so identified as being based on personal knowledge:
     9 NATURE OF THE ACTION
    1 0 1 . This is a consumer class action seeking redress for Defendants' unfair

    1 1 and deceptive business and trade practices on behalf of anyone who purchased for
    12 personal consumption any of the Monster-branded energy drinks, including any of
    13 the following ("Monster Energy Drinks"):

    14 Monster Energy@ Java Monster@ Kona Blend
             Lo-Carb Monster Energy@ Java Monster@ Loca Moca@
    15
             Monster Energy@ Assault@ Java Monster@ Mean Bean@
    16       Monster Khaos@ Java Monster@ Vanila Light
    17
             Monster M-80@ Java Monster@ Irish Blend@
             Monster MIXX@ Java Monster@ Toffee
    18       Monster Energy@ Absolutely Zero Monster Energy' Extra Strength
             Monster Energy@ Import Nitrous Technology@ Super~DryTM
    19
             Monster Energy@ Import Light :ronster Energy' Extra Str~ngth .
    20       Monster Energy@ Dub Edition Nitrous Technology@ Anti-Gravity@
             Monster Rehab™ Tea + Lemonade Monster Energy' Extra Strength
    21       + Energy Nitrous Technology@ Kiler~B@
             Monster Rehab™ Rojo Tea +
    22       Energy
    23       Monster Rehab™ Green Tea + Monster Energy' Extra Strength
             Energy Nitrous Technology@ Black Ice™
    24       Monster Rehab ™ Protean + Energy
             Monster Energy@M3™ Super X-Presso Monster@Hammer
    25       Concentrate
                                                X-Presso Monster@ Midnite
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      1 2. The Company develops, markets, sells, and distributes beverages and
     2 soft drinks in the United States and internationally. Defendants falsely or

     3 misleadingly label, market and advertise for sale a highly caffeinated concoction -
     4 the Monster Energy Drinks - as if it were a conventional beverage or food.
     5 3. The Company does not disclose the caffeine content in its drinks and
     6 has chosen to categorize the Monster Energy Drinks as a "dietary supplement,"
     7 rather than as a beverage or as a conventional food item. The Company's own
     8 public filings, however, do not describe the Monster Energy Drinks as a dietary
     9 supplement, but rather indicate that it is a "carbonated energy drink." As detailed
    10 further below, such labeling, marketing and advertising is an attempt to circumvent
    11 the, safety standards applicable to food and beverage additives and creates a false
    12 perception by the consumer that these products are safe.
    13 4. Monster Energy Drinks, in fact, contain a dangerously high amount of

    14 caffeine that have never been subjected to any kind of pre-market review by any
    15 regulatory authority prior to them being put in the stream of commerce. Numerous
    16 scientific studies have shown that the consumption of large amounts of caffeine, in
    17 combination with other active ingredients like guarana, taurine, carnitine, sugar,
    18 among others, by youth and adolescents can have serious health consequences.
    1 9 Yet, Defendants knowingly or with reckless indifference, market, advertise and sell
    20 Monster Energy Drinks as completely safe via playful/seductive advertising
    21 designed to attract pre-teens and teens and via product placement.

    22         5. Notwithstanding the high caffeine levels in Monster Energy Drinks
    23 and the scientific evidence of serious health risks these levels may pose for
    24 adolescents and youth, Defendants' advertising, marketing and promotions

    25 expressly target the 13 to 21 -age group. Defendants intend to and do, in fact,
    26 capture teenagers and other youth by designing and disseminating their marketing
    27 campaigns to specifically target and attract such youth. Yet, defendants'

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      1 advertising and labeling fails miserably at providing any warning regarding the
      2 dangers of frequent or excessive consumption of caffeine to this very same group
      3 that they target. As a result of the false and misleading labeling, marketing and

      4 advertising, and failure to warn of risks, the Company has profited immensely
      5 from its Monster Energy Drinks' sales, capturing almost 35% of the market share
      6 and generating sales of almost $2 billon annually in 2011.
      7 JURISDICTION AND VENUE
      8 6. This Court has jurisdiction over all the causes of action asserted

      9 herein. The Court has jurisdiction over the Magnuson-Moss Warranty Act

    10 ("MMWA") claim pursuant to 28 U.S.C. §1331 because a federal question is
    11 involved and pursuant to 15 U.S.C. §2310(d) because (a) the amount in

    12 controversy of
                                     any individual claim is less than the sum or value of$25.00; (b) the
    13 amount in controversy is greater than the sum or value of$50,000 computed on the
    14 basis of all claims in the suit; and (c) the number of plaintiffs is more than 100.
    15 The Court has supplemental jurisdiction over state law claims under 28 U.S.C.
    16 §1367(a) as claims herein arise under the same set of               facts comprising a single case
    17 or controversy.
    18 7. This Court has jurisdiction over the subject matter presented by this

    19 complaint because it is a class action arising under the Class Action Fairness Act
    20 of 2005 ("CAFA"), 28 U.S.C. §1332, et seq., which explicitly provides for the
    21 original jurisdiction of the federal courts over any class action in which any
    22 member of the plaintiff class is a citizen of a state different from any defendant,
    23 and in which the matter in controversy exceeds in the aggregate the sum of $5
    24 milion, exclusive of interest and costs.
    25                  8.      More than two-thirds of the members of the class are citizens of a
    26 state other than California and, as set forth below, the Company is a citizen of
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      1 California. Therefore, diversity of citizenship exists under CAF A, as required by
     2 28 U.S.C. §1332(d)(2)(A).

     3 9. The total claims of the individual members of the class in this action

     4 are in excess of $5 millon in the aggregate, exclusive of interest and costs, as
     5 required by28 U.S.C. § 1332(d)(2), (6).
     6 10. As stated above, more than two-thirds of all of the members of the

     7 proposed class in the aggregate are citizens of a state other than California, where
     8 this action was originally filed, and the total number of members of the proposed
     9 class is greater than 100, pursuant to 28 U.S.C. § 1332(d)(5)(B).
    10 1 1. The Court has personal jurisdiction over Defendants because they

    1 1 have purposefully availed themselves of the privilege of conducting business

    12 within the State of California by marketing, advertising and sellng the Monster
    13 Energy Drinks to plaintiff and members of the proposed class, as well as generally
    14 maintaining systematic and continuous business contacts within the State of
    1 5 California.
    16 12. Venue is proper pursuant to 28 U.S.C. §1391(a) because the Company

    17 conducts substantial business in this District, has sufficient minimum contacts with
    18 this District, and otherwise purposely avails itself of the markets in this District,
    19 through the promotion, sale, marketing and administration of its products in this
    20 District. Filed concurrently with this Complaint is the Declaration of Azra Z.
    21 Mehdi Pursuant to California Civil Code Section 1780( c) of the Consumer Legal
    22 Remedies Act, CaL. Civ. Code § 1750, et seq., which is incorporated by reference
    23 herein.
    24         13. California has numerous contacts with the conduct alleged herein and
    25 a strong interest in applying its laws to that conduct. The Company is found, does
    26 business or transacts business within California. The Company maintains its
    27 principal offices, as well as agents, in California and is licensed to do, has done,

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         1 and continues to do business in California. Defendants' advertising, marketing,

      2 pricing, sales and distribution operations for their Monster-branded energy drinks
      3 sold throughout the United States, which form the basis of this litigation,
      4 originated from and/or are controlled by, Defendants' offices in California. In
      5 addition, the Company directly advertised, marketed and sold its energy drinks to
      6 consumers in California as well as the other states in the country. As such,
      7 California's interest in applying California law in this litigation outweighs any
      8 interests other states or their laws may have.
      9 PARTIES
     10 14. Plaintiff Alec Fisher is a citizen of California who currently resides in
    11 Baltimore, Maryland. Plaintiff has been purchasing and consuming a variety of the
    12 Monster Energy Drinks for the past five (5) years, since he was about 16 years old.
    13 Mr. Fisher has consumed the original Monster Energy Drink with the green tab and
    14 the Lo:.Carb version most frequently. At various times, he also has consumed
    15 Absolutely Zero, Mixxed, Assault, Khaos as well as a number of other varieties
    16 depending on what was available at the store. Going back five years, Mr. Fisher
    17 consumes an average of two to three cans per week, with that number going up
    18 significantly during the weeks prior to and during exams, as well as on the
    19 weekends. Mr. Fisher first tried Monster Energy Drinks when he was a junior in
    20 high schooL. The Company was parked outside his high school in trucks handing
    21 out free cans of Monster Energy Drinks to everyone. Mr. Fisher believed that
    22 Monster Energy Drinks were safe for consumption by persons of all ages since the
    23 guys in the Monster Energy Drink truck were not asking kids how old they were
    24 prior to handing out the Monster Energy Drinks. Further, Mr. Fisher saw nothing

    25 on the labeling of the Monster Energy Drink can that would lead him to believe
    26 that drinking the Monster Energy Drink could be bad for his health. Had Mr.
    27 Fisher known these facts, he would not have accepted Defendants' freebie cans or
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         1 subsequently continued to purchase and consume Monster Energy Drinks for years
     2 after.
     3 15. Defendant Monster Beverage Corporation, f/k/a Hansen Natural

     4 Corporation, is a Delaware corporation with its principal place of business at 550
     5 Monica Circle, Suite 201, Corona, California 92880. MBC is a publicly traded
     6 company whose stock trades on the NASDAQ under the ticker symbol MNST.
     7 MBC's business is listed under the Consumer Goods category and identifies its
     8 operations as fallng in the beverage and soft drink industry. MBC is a holding
     9 company that carries no operating business, except through its wholly owned
    10 subsidiaries. MBC through its subsidiaries, develops, markets, sells, and
    11 distributes alternative beverage category beverages in the United States and
    12 internationally.
    13 16. Defendant Monster Energy Company, f/k/a Hansen Beverage
    14 Company, is a Delaware corporation with its principal place of business at 550
    15 Monica Circle, Suite 201, Corona, California 92880. MEC is a wholly owned
    16 subsidiary of MBC. MEC produces and distributes a variety of sodas, fruit juices,
    17 teas, energy drinks and waters. MEC conducts substantially all of MBC's
    18 operating business and generates substantially all of the Company's operating
    19 revenues.

    20 17. The Company was engaged in and continues to be engaged in and

    21 responsible for the design, manufacture, production, testing, study, inspection,
    22 mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of
    23 variety of Monster Energy Drinks under the brand "Monster," as described in ir1,
    24 supra.
    25 18. Plaintiff is currently unaware of the true names, capacities, or basis
    26 for liabilty of defendants Does 1 through 20, inclusive, and therefore sues said
    27 defendants by their fictitious names. Does 1 -20 are individuals, associations or
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       1 corporations who/that are affiliated or related to the Company, who wil be
       2 specifically identified and named as discovery progresses and their roles in the
       3 wrongdoing at issue is revealed. At all times mentioned in the Counts alleged
       4 herein, each and every defendant was an agent, representative, affiliate, or
       5 employee of each and every other defendant, and in doing the things alleged in the
       6 Counts stated herein, each and every defendant was acting within the course and
       7 scope of such agency, representation, affiliation, or employment and was acting
       8 with the consent, permission and authorization of the other defendants. During the
       9 relevant time period, defendants agreed to misrepresent to the class members the
     1 0 material facts at issue herein and/or not to notify class members about the scope
     1 1 and nature of the ilegal business practices as detailed herein, thus engaging in a
     12 conspiracy that resulted in injury in fact to members of
                                                                               the class, which conspiracy
     13 is stil on-going. All actions of each defendant, as alleged in the Counts stated

     14 herein, were ratified and approved by the other defendants or their respective
     15 directors, officers and/or managing agents, as appropriate for the particular time
    1 6 period alleged herein. Plaintiff is informed and believes, and on that basis alleges,
    1 7 that defendants Does 1 through 20, inclusive, and each of them, are in some
    18 manner liable to Plaintiff, and/or are proper and necessary parties to this action in
    19 light of the relief requested. Plaintiff wil amend the Complaint (if necessary) to
    20 allege their true names, capacities or basis for liabilty when the same have been
    2 1 ascertained.

    22                                                         FACTUAL ALLEGATIONS
    23 A.             Company Background
    24        19. The Company's beverage business is divided into Direct Store
    25 Delivery ("DSD"), whose principal products comprise Monster Energy Drinks, and
    26 Warehouse, whose principal products comprise juice
                                                                               based and soda beverages
    27 under many different brand names. Defendants have generated just under $2
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      1 bilion, $1.5 bilion and $1.3 bilion in gross sales in 2011, 2010 and 2009,

      2 respectively. The Company's gross sales for the first three quarters of 2012 have
      3 already surpassed $1.8 bilion: Over 90% of Defendants' sales figures and gross
      4 profits are attributable to the Company's Monster Energy Drinks division.
      5 Monster Energy Drinks have recently become the number one top sellng energy
      6 drink world-wide, knocking off rival Red Bull.
      7 20. Although energy drinks generally make up only a tiny portion of the

      8 entire beverage market, it is the fastest-growing segment. The growth of energy
      9 drinks is directly attributable to its popularity among pre-teens and teens. Energy
    10 drink sales rose by more than 16% in 201 1 and Defendants were in the lead with
    11 35% of
                the market.
    12 21. In fact, to capitalize on the success of its Monster Energy Drinks, the
    13 Company which used to be known as the Hansen Natural Corporation and Hansen
    14 Beverage Company, officially changed its name to Monster Beverage Corporation
    15 and Monster Energy Company, respectively, on January 5, 2012.
    16 B. Ingredients in Monster Energy Drinks

    17 22. Energy drinks have surged in popularity in recent years, especially
    18 among high school and college students. The most common ingredient in energy
    19 drinks, including in Monster Energy Drinks, is caffeine, which is often combined
    20 with taurine, glucuronolactone, L-carnitine, guarana, and B vitamins to form what
    21 is referred to by the Company as an "energy blend."
    22 23. Energy drinks often contain additional amounts of caffeine through

    23 additives, including guarana, kola nut, yerba mate, and cocoa. Guarana (Paullnia
    24 cupana) is a plant that contains caffeine, theobromine (a chronotrope), and

    25 theophyllne (an inotrope). Each gram of guarana can contain 40 to 80 mg of
    26 caffeine, and it has a potentially longer half-life because of interactions with other
    27 plant compounds. Monster Energy Drinks contain guarana.
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      1 C. Defendants' Labeling, Advertising and Marketing of the Monster

      2 Energy Drinks Targets, Is Intended to and Does Connect Directly with

      3 Teenagers and Youth
      4 24. Defendants designed the marketing, advertising and labeling of the

      5 Monster Energy Drinks for an intended audience of adolescents and youth.
      6 Indeed, the Company reportedly selected the name "Monster Energy" after
      7 consulting with a focus group of teenage males. The dominant audience for

      8 Monster Energy Drinks is made up of teens and people in their early 20s. As
      9 detailed below, the Company's unique marketing approach designed to be

     10 attractive to adolescents and youth, has caused Monster Energy Drinks to become
     11 No. 1 in energy-drink convenience-store sales, generating $1.3 bilion in 2011

     12 revenue and taking market share from Red Bull.
     13 25. The Company eschews mainstream advertising on TV, radio, and

     14 bilboards, instead sponsoring huge extreme sporting events - skateboarding,

     15 motorcycle racing, surfing, NASCAR racing, professional bull riding - and music
     16 festivals as well as getting endorsements from music celebrities and popular sports
     17 figures. The core of Defendants' marketing strategy is prize promotions, price
     18 promotions, competitions, endorsements from selected public and extreme sports
     19 figures, personality endorsements (including from television and other well-known
    20 sports personalities), coupons, sampling and sponsorship of selected causes,
    21 events, athletes and teams.
    22         26. The Company also admits in its public fiings that its sales and
    23 marketing strategy is to develop "brand awareness through image enhancing

    24 programs and product sampling." Defendants use branded and other promotional
    25 vehicles at events and schools where they hand out samples of Monster Energy
    26 Drinks to consumers. In fact, Plaintiff was first introduced to Monster Energy
    27 Drinks outside his high school where the Company was handing out free samples
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         1 to all present, age no .bar. Similarly, the Company goes into small local towns and
         2 cities - at sports and music festivals - handing out Monster Energy Drinks to
      3 everyone - age being no bar to the freebie handout.
      4 27. Defendants' promotions include extreme sports, music and the

      5 Monster Girls. Reproduced below are screen shots of the Monster Girls from the
      6 Company's website - beautiful, sexy and scantily clad young women. What
      7 sexually curious adolescent male (i.e. the Company's focus group) would not be
      8 drawn to Monster Energy Drinks with this kind of marketing?
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    19 28. The Company's promotions offering free Monster gear require a

    20 person to "Drink Monster," "Save Tabs," and "Trade for Gear. See below. The
    21 gear includes Monster-branded clothing and apparel, accessories as well as the
    22 Monster Girl 18-Month Calendar:

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          In this       manner, Defendants . not only encourage, but aggressively promote the
     12
          consumption of Monster Energy Drinks by teenagers and other youth. For
     13
          example, in order to get a "free" Monster Beanie (with the florescent Monster
     14
          logo) or a short-sleeve T-shirt, one has to consume and send in 30 Monster Energy
     15
          Drink tabs!! A hoodie demands consumption of 75 Monster Energy Drinks!! So,
    16
          in effect, the gear is not actually "free." One has to pay for and consume a
    17
          monstrous number of       Monster Energy Drinks.
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    25             29.   The "Monster Music" and "Monster Gaming" Facebook pages are
    26 most popular with persons ages 13-17. Indeed, the Monster Army website

    27 sponsored by Defendants invites "13-21" year-old action sports athletes to apply
    28 for sponsorships, and ages 13-24 is the most popular age group of those who
                                                12
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      1 "Like" the "Monster Army" on Facebook. Monster Army is the Company's

     2 athlete development program that supports athletes ages 13-21 in moto, bike, skate,
     3 surf, snow and wake. Athletes from all over the world are evaluated and invited
     4 into the program to represent the Monster Energy brand. See
     5 http://ww.monsterarmy.com/programs/. reproduced below:

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                   30. In keeping with a young fan-base, the Company has nurtured a strong
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         following on social networks. It counts over 20 milion enthusiasts on Facebook
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         and has over 408,000 Twitter followers. The Company, thus, specifically targets
    20
         the 13-21 age group in its marketing and advertising knowing full well that the
    21
         fans of   the athletes in this age group wil most likely also be 13-21 or younger.
    22
                   31. Jeff Cioletti, editor of industry trade publication Beverage World,
    23
         attributes Monster Energy Drinks' success to the Company "knowing its audience
    24
         and finding a way to connect with them, in what they perceive as an authentic way,
    25
         and not talking down to them." On the Company's marketing strategy, Mark Hall,
    26
         president of the Monster Energy division, remarked: "There has to be some
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         1 connection with the consumer - they have to feel good about what they hold in
      2 their hand and that's the elusive part of marketing."
      3 32. There's no question that the Company has done a remarkable job of

      4 connecting with its young audience. According to a 2011 article by the American
      5 Academy of Pediatrics, 30% to 50% of adolescents and young adults consume
      6 energy drinks.

      7 33. Ads in magazines and on bilboards with slogans like "unleash the

      8 beast" and "the meanest energy supplement on the planet" ensure that consumers
      9 have brand awareness. And one certainly cannot miss Monster Energy Drinks on
     10 the shelves; with the goth-inspired logo, lurid colors, and names like Java Monster,
     11 Lo-Carb Monster, Monster Rehab, and others, they tend to stand out. And
     12 Defendants' banners adorn pretty much every big extreme sports event. The
     13 "coolness factor" and the caffeine in Monster Energy Drinks are what the
    14 Company is banking on to keep its young consumers coming back for more.
    15 D. The Labeling on Monster Energy Drinks Is Designed to Be Attractive
    16 Primarily to Adolescents and Youth
    17 34. The label on a can of
                                                                Monster Energy Drinks states:
    18                             Tear into a can of        the meanest energy
    19                             supplement on the planet, Monster energy.
    20                             It's the ideal combo of       the right
    21                             ingredients in the right proportion to
    22                             deliver the big bad buzz that only
    23                             Monster can.
    24                             Monster packs a vicious punch but has a
    25                             smooth flavor you can really pound down.
    26                             Athletes, musicians, anarchists, students,
    27                             road warriors, metal heads, nihilists,
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                    geeks, hipsters, bikers, and milf dig it.
                    You will too.




       It is commonly known that MILF is an acronym for "Mother/Mom l d Like to


       Company is conveying with labeling like that and the Company's intended target
       audience of sexually curious adolescents with raging hormones.




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         1 repeated reference to "buzz," a term generally used to describe the intoxicating
      2 effect one has from drinking alcohol, gives the impression to the consumer that

      3 Monster Energy Drinks can similarly deliver the intoxicating feeling that comes
      4 from drinking alcohoL.

      5 36. Consumers may, thus, falsely believe that "more is better" and ingest
      6 multiple servings of the energy drinks. Moreover, since there are no restrictions on
      7 the sale of energy drinks, adolescents and children (who may be inexperienced and
      8 less tolerant to the effects of caffeine) may be at an increased risk for caffeine
      9 intoxication. Indeed, the Company's 24 oz. can of the original Monster Energy
     10 Drink states: "(BJigger is better. . . because you can never get too much of a good

     11   thing."
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                37. Some examples of the labeling and advertising for the Company's
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          other Energy Drinks that convey similar messages include:
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         1               e LO-CAR Slogan: Tear into a can of the meanest energy
      2                     supplement on the planet, Lo-Carb MONSTER energy. We
      3                     went down to the lab and performed major surgery on the
      4                     Monster. We hacked out carbohydrates and calories,
      5                     transplanted the wicked Buzz and dialed in the flavor. Lo-
      6                     Carb MONSTER energy stil delivers twice the Buzz of a
      7                     regular Energy drink, but only has a fraction of   the calories.
      8                  e Cuba Lima Monster Energy Slogan: As legend has it a
     9                      buzzed up Cuban hears his country has been liberated
     10                     holds up his drink, yells "CUBA-LIBRE" and the famous
    11                      cocktail is born. As big fans of the drink we decided to
    12                      make our own, substituting our tried and true energy blend
    13
                           for the alcohol and adding a squeeze of sweet lime. We
    14                     know it sounds crazy but don't knock it til you try it.
    15                      You're gonna love it cause it's a new kind buzz. Energy
    16                      Liberated!
    17                   e Übermonster Monster Energy Slogan: Über: (oo-ber) From
    18
                            the German meaning superior, above the norm, or the
    19
                            ultimate. No regular bottle could handle this evil energy
    20
                            brewski. So we designed our own with the biggest chugger
    21
                           friendly wide mouth we could make. The big ass cap is a
    22
                            little hard to pry off, but it's sorta like, if you can't open it
    23
                            you shouldn't be able to drink it! Cheers, This energy
    24
                            brew's for you!
    25
                         e M3 Monster Energy Slogan: This little bottle of super
    26
                            concentrated Monster madness packs a 160z. punch into
    27
                            only 50z. of liquid. Our unique nitrous technology mellows
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                                                                       17
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         1                  out the flavor. A shot it's not. . . but then you don't have
      2                     to plug your nose to drink it!
      3                  . Super Dry Nitrous Slogan: Don't let the skinny can fool
      4                     you, Monster Extra Strength packs our biggest punch! Call
      5                     us crazy, but we supercharged our Monster Energy base then
      6                     injected it with Nitrous Oxide for a unique texture, smooth
      7                     drinkable flavor and buzz that's bigger than ever. This is no
      8                     "Whip-it" but it will whip you good...
      9                  . Green Tea Rehab Slogan: Our friends at the Rehab pool
     10                     party in Vegas know all about recovering from a long
     11                     night and together we came up with Monster Rehab@ Green
    12                      Tea + Energy. Naturally loaded with EGCG antioxidants,
    13                      infused with coconut water, quercetin, acai berry and goji
    14                      berr. Monster Rehab@ Green Tea + Energy delivers a triple
    15                      threat that quenches thirst, hydrates like a sports drink, and
    16                      brings you back after a hard day's night. Monster Rehab@
    17                      Green Tea + Energy: RE-FRESH, RE-HYRATE, RE-
    18
                            VIVE, or in other words, Re-habiltate with a kiler mix of
    19
                            green tea, pineapple juice, electrolytes, and our bad-ass
    20                      Monster Rehab@ energy blend to fire you up. Rehab The
    21
                            Beast!
    22
                         . Tea+Lemonade Rehab Slogan: While chillin' at the Vegas
    23
                           Rehab@ pool party, contemplating a cure for cotton
    24
                            mouth, admiring the flesh parade, and pondering the
    25
                            wisdom of doubling down when the dealer shows a face
    26
                            card, it HIT ME! We need a new drink. One that can do it
    27
                            all - a triple threat that quenches thirst, hydrates like a sports
    28
                                                       18
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         1                   drink, and brings you back after a hard day's night. Monster
      2                      Rehab: Re-Fresh, Re-hydrate, Re-store, or in other words,
      3                      Re-habiltate with a kiler mix of tea, lemonade, electrolytes,
      4                      and our bad-ass Rehab@ energy blend to fire you up.
      5                      Rehab the Beast!
      6 38. In sum, the Company's labeling conveys the following:

      7                        @ Monster Energy Drink is some magic formula with "the

      8                         right ingredients in the right proportion;"
      9                        e Monster Energy Drink delivers "a big bad buzz" like you
     10                         get from drinking alcohol; and
     11                        $ You can become part of the "cool" or "Über-cool" crowd
     12
                                by imbibing Monster Energy Drinks.
     13 E.
                   Defendants' Labeling, Advertising and Marketing of Their Energy
     14
                   Drinks Is False and Misleading and Fails Adequately to Warn of
     15
                   Dangers of Frequent and Excessive Consumption of Caffeine
     16
                   39. Monster Energy Drinks contain significantly high amounts of
     17 caffeine, in addition to other stimulants, like guarana, which contain hidden

     18 amounts of additional caffeine. The amino acid - taurine - is also found in the
    19 Monster Energy Drinks. Although the Company does not identify the amount of
    20 caffeine in each can, it has disclosed through other sources that one 16 oz. can of
    21
             Monster Energy Drink contains approximately 160 millgrams of caffeine - the
    22
             equivalent of four (4) 12 oz. cans of Coca-Cola, while the 24 oz. can contains 240
    23
             millgrams of caffeine, or the equivalent of seven (7) cans of Coke. But health
    24
             experts have voiced concerns about energy drinks over the past few years, saying
    25 the caffeine content can be as high as 550 mg. i

    26
    27 i Many of the Monster Energy Drinks have the same caffeine content per ounce,
    28 but some are slightly higher due to the same energy blend being used in drinks
                                                      19
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      1 40. Defendants have proven that they have marketing genius and this

      2 genius has been resoundingly rewarded by the market - both its shareholders as
      3 well as by the Company's target group - adolescents. Notwithstanding the high
      4 caffeine levels in Monster Energy Drinks and scientific evidence of the serious
      5 health risks that they pose, especially for the teenagers and youth that the Company
      6 specifically targets (as detailed supra), Monster Energy Drinks fail miserably in
      7 providing any warnings on its product as to the effects of frequent or excessive
      8 caffeine consumption to the teenagers and youth it targets.
      9 41. The only notation that the Company has on Monster Energy Drink can

     10 is hidden in fine print:
     11               Consume responsibly - Max 1 can per four hours, with limit 3
     12               cans per day. Not recommended for children, people sensitive
     13               to caffeine, pregnant women or women who are nursing.
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    25
    26 with less volume. The caffeine content is less per ounce in countries with stricter
    27 caffeine
       knowledgelaws
                   andsuch as Australia
                       awareness        and New
                                 of the impact    Zealand which
                                               of excessive        indicates
                                                            caffeine         Defendants'
                                                                     consumption.
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                                                 20
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                42. Monster Energy Drinks can labels have NO WARNING for the
    22
          teenagers and adolescents who the Company targets. Children are deemed to be
    23
    24 persons under the age of 12.
                43. Three 16 oz. cans contain, even by Defendants' standards, more than
    25
    26 480 mg of caffeine, significantly more than the 400 mg that that the Federal Drug
    27 Administration ("'FDA") has stated is safe for healthy adults to consume. The safe
    28 level for adolescents according to the American Academy of Pediatrics is much
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      1 lower - no more than 100 mg of caffeine per day from all sources. According to
      2 the University of California, teenagers who consume more than 100 mg of caffeine
      3 per day are at an increased risk for high blood pressure. One study in Pediatrics, a
      4 medical journal, says, "Caffeine can be lethal in doses ranging from 200 to 400
      5 miligrams," and affects various organ systems by increasing heart rate, blood
      6 pressure, speech rate, motor activity, attentiveness and body temperature. Thus,
      7 drinking even one can of a Monster Energy Drink is unhealthy for an adolescent.
      8 44. Remarkably, in a recent press release, the Company contends that

      9 "more than eight bilion cans of Monster Energy@ that have been sold and safely
     10 consumed in the United States and around the world since 2002." That statement
     11 is simply untrue.
     12 45. Monster Energy Drinks have been cited in the deaths of five people in

     13 the past year, according to incident reports that doctors and companies submit to
     14 the FDA. According to Shelly Burgess, an FDA spokeswoman, the reports said
     15 the victims consumed Monster Energy Drinks prior to their deaths. The five death
    16 reports, and a sixth in 2009, were among 37 adverse reaction reports since 2004
    17 that mentioned Monster Energy Drinks, according to a log of incidents that health
    18 professionals, companies and the public voluntarily recorded with the FDA. See
    19 excerpt attached hereto as Exhibit A. The event reports linked to the Company
    20 claimed that some of the life-threatening ilnesses were characterized by heart
    21 attack, chest pain and vomiting.
    22 46. A November 2011 report by the Drug Abuse Warning Network,
    23 produced under the auspices of the Department of Health and Human Services,
    24 showed a tenfold increase in emergency room visits linked to energy drinks from
    25 2005 (1,128 visits) and 2008 and 2009 (16,053 and 13,114 visits, respectively),
    26 representing about a tenfold increase, with about half those trips made by patients
    27 18 to 25 years old. Meanwhile, sales of energy drinks have increased 240% in the

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                                                 22
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      1 same period. "Consumption of energy drinks is a rising public health problem
      2 because medical and behavioral consequences can result from excessive caffeine
      3 intake," the report concluded. "A growing body of scientific evidence documents
      4 harmful effects, particularly for children, adolescents and young adults."
      5 47. Recently, the parents in Maryland sued MBC claiming the drinks led

      6 to caffeine toxicity that kiled their daughter. Fourteen year-old Anais Fournier,

      7 who had a pre-existing heart condition, went into cardiac arrest after drinking two
      8 24-ounce cans of the Monster Energy Drinks two days in a row in December 2011.
     9 She was pronounced brain dead six days later.
    10 48. Health advocates and experts have been concerned about the use of

    1 1 energy drinks among adolescents and trying for some time now to draw attention
    12 to the issue of energy drink consumption by kids. In 2011, the Journal of

    13 Pediatrics published a report titled, "Health Effects of        Energy Drinks on Children,
    14 Adolescents, and Young Adults" warning that the consequences of energy drink
    15 consumption included "palpitations, seizures, strokes, and even sudden death."
    16 The authors also specifically warned parents that the drinks could be dangerous for
    17 kids with heart problems, diabetes, or ADHD.
    18 49. Earlier this year, the National Council of Sports and Fitness issued a
    19 report, "Youth and Energy Drinks," warning that kids confuse energy drinks like
    20 Monster Energy Drinks with the sports drinks marketed by their sports heroes.
    21 Sports drinks contain water, salt and sugar, and are designed to replenish the

    22 electrolytes and energy one's body loses during exercise. Sports drinks do not
    23 contain chemicals that directly increase one's energy levels as energy drinks do.
    24 Defendants' product placement in the vicinity of sports drinks is by design. See
    25 product placement below:

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                                                                  23
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    20 50. According to the 2009 Mayo Clinic study, convenience stores display

    21 energy drinks next to the sports drinks, which can mislead the consumer into

    22 thinking that they are similar products. The study notes that whereas sports drinks

    23 can indeed provide hydration and replenishment of electrolytes and carbohydrates,
    24 the elevated levels of caffeine in energy drinks have diuretic effects that increase
    25 urinary output and natriuresis (excretion of an excessively large amount of sodium
    26 in the urine). Additionally, according to the National Federation of High School

    27 Associations, energy drinks supply an amount of carbohydrate far beyond that is
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      1 recommended for physically active people, which can slow the rate at which fluid
      2 is absorbed into the bloodstream or lead to gastrointestinal distress.
      3 51. Amelia M. Arria, Ph.D., an epidemiologist who serves as director of

     4 the Center on Young Adult Health and Development at the University of Maryland
      5 School of Public Health stated: "In my opinion, some of the marketing messages

     6 go overboard about the health benefits of these drinks. The term 'energy drink' is
     7 misleading. Energy should come from calories - this is more about stimulation."
      8 Studies have shown almost 30% of college students consume energy drinks
     9 regularly, Dr. AITia said. The high concentrations of caffeine they contain can

    10 produce cardiovascular complications, especially in young people or those who are
    11 sensitive to caffeine, she said.
    12 52. According to a 2011 article by the American Academy of Pediatrics,

    13 of the 5,448 U.S. caffeine overdoses reported in 2007, 46% occurred in those

    14 younger than 19 years. The researchers of the 2011 study concluded, among other

    15 things that:
    16 ~ energy drinks have no therapeutic benefit, and both the known and

    17 unknown pharmacology of various ingredients, combined with reports

    18 of toxicity, suggest that these drinks may put some children at risk for
    19 serious adverse health effects;
    20
                  ~ typically, energy drinks contain high levels of caffeine, taurine, and
    21                guarana, which have stimulant properties and cardiac and hematologic
    22                activity, but manufacturers claim that energy drinks are nutritional
    23                supplements, which shields them from the caffeine limits imposed on
    24                sodas and the safety testing and labeling required of pharmaceuticals;
    25
                      and
    26
                  ~ youth-aimed marketing and risk taking adolescent developmental
    27
                      tendencies combine to increase over-dose potentiaL.
    28
                                                  25
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       1 53. According to medical experts at the Department of Psychiatry and

      2 Behavioral Sciences at The Johns Hopkins University School of Medicine, the
      3 consumption of energy drinks may increase the risk for caffeine overdose in
      4 caffeine abstainers as well as habitual consumers of caffeine from coffee, soft
      5 drinks, and tea due to the lack of adequate labeling. Many energy drinks do not
      6 label their product with the amount of caffeine or display warning labels advising

      7 proper use. Consequently, consumers may be completely unaware of the amount

      8 of caffeine they are ingesting.

      9 54. Additionally, the potential for acute caffeine toxicity due to
     10 consumption of energy drinks may be greater than other dietary sources of caffeine
     1 1 since many energy drinks are marketed with claims of performance enhancing
     12 effects although the existence and extent of such effects has not been conclusively
     13 established.
    14 55. The Federal Food, Drug and Cosmetics Act provides in section 20
                                                                                        1
                                                                                            (n)
    15 (21 U.S.C. §321(n)) that affirmative representations are not the only factor relevant
    16 to whether labeling is misleading. Rather, in determining whether the labeling of

    17 an article is misleading,
    18 there shall be taken into account (among other things) . . . the
    1 9 extent to which the labeling fails to reveal facts material in the
    20 light of such representations or material with respect to
    21 consequences which may result from the use of the article to
    22 which the labeling relates under the conditions of use
    23 prescribed in the labeling thereof or under such conditions of
    24 use as are customary or usuaL.
    25 21 U.S.C. §321(n).

    26 56. While touting the questionably positive qualities of Monster Energy
    27 Drinks, the Company fails to adequately warn of the dangers of consuming even
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                                                                             26
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      1 one can of the Monster Energy Drinks to the adolescents and youth that they target
      2 with their promotions and overall marketing strategy. Thus, Company's labeling
      3 of its Monster Energy Drinks is false and misleading.
      4 F. Defendants' Failure to Properly Label Monster Energy Drinks Has

      5 Caused Serious Bodily Injury to Some Consumers and Continues to

      6 Pose a Danger to the Adolescents and Youth that They Target in the

      7 Company's Marketing Campaign
      8 57. Monster Energy Drinks are targeted towards people with active

      9 lifestyles, especially teenagers and young adults. They are, however, a potent
     10 beverage that can cause adverse health conditions, especially in teenagers and
     11 adolescents who are stil in the process of developing.
     12 58. Monster Energy Drinks can raise one's heart rate. The University of

     13 Washington reports that caffeine is a central nervous system stimulant and can
     14 increase one's heart rate. According to the University of Alabama at Birmingham,
     15 guarana has three times the caffeine content as caffeine in coffee. According to
     16 Johns Hopkins University, in a survey of 496 college undergraduate students, 19%
     17 of students indicated that they experienced heart palpitations from energy drinks.

     18 The American Heart Association confirms this, noting that people consuming two
     19 energy drinks everyday experienced blood pressure and heart rate increases. The
    20 American Heart Association states that energy drinks can pose an increased risk of
    21 heart problems during exercise, as one's heart rate naturally increases on its own
    22 during physical activity. High blood pressure, also known as hypertension, puts

    23 one's body at risk for numerous additional ilnesses. Having high blood pressure
    24 can harden one's arteries, strain one's kidneys and cause permanent damage to
    25 one's heart.
    26 59. In 2007, Wayne State University in Michigan conducted a study on

    27 how energy drinks might .affect blood pressure and the heart. Participants, who
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       1 were in their 20s, drank two energy drinks a day for seven days straight. The
      2 participants did not consume caffeine for two days prior to the study. Heart rates
      3 were measured each day within two hours of consuming the energy drinks, while
      4 the participants were sitting down and not engaged in any strenuous activity. The
       5 results showed that there was an average heart rate increase of 11 % on the seventh
      6 day, an increase of up to seven beats per minute. Blood pressure also increased by

      7 over 7%, which signified the added pressure to the heart.
      8 60. James Kalus, Pharm.D., senior manager of Patient Care Services at

      9 Henry Ford Hospital in Detroit, Michigan, and a former Wayne State University
    10 researcher who led the study, feels that the increases in blood pressure and heart
    1 1 rate may be due to the caffeine and taurine in the drinks. "Thousands of young
    12 adults are using these drinks," Dr. Kalus said. "Some are mixing the energy drinks
    13 with alcohoL. We don't necessarily know how much they are drinking at a time or
    14 whether they are drinking before exerting themselves playing basketball or
    15 dancing." This is especially so since the marketing for energy drinks is combined
    16 with extreme sports, he said.
    17                61. Dr. Suzanne Steinbaum, a preventive cardiologist at Lenox Hil
    18 Hospital in New York City. "People may think that these energy drinks are
    19 healthy by the way they're marketed," she said. There are, however, 240

    20 miligrams of caffeine in some of these drinks, Dr. Steinbaum said. "That's seven
    21 times the amount of caffeine in a can of soda," she added. Caffeine can increase
    22 the heart rate tremendously and drive blood pressure up, Dr. Steinbaum explained.
    23 62. Energy drinks cause drastic changes in energy levels. Caffeine's

    24 primary effect on the body is to stimulate the nervous system, producing a burst of
    25 energy, but this is followed by a period of diminished energy. These episodes

    26 were referred to as jolts and crashes, respectively, in a study published by

    27 "Nutrition Journal" in October 2007. Results of
                                                              this study, which included almost
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                                                         28
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       1 500 college students, indicated that jolts and crashes were experienced by 29% of
       2 subjects who drank energy drinks. In addition, 22% experienced headaches and

       3 19% experienced heart palpitations.
       4 63. The high sugar and caffeine content in Monster Energy Drinks can

       5 keep one wired for hours and cause sleep deprivation. Medline Plus reports that
       6 caffeine is absorbed by one's body quickly and distributed through the
       7 bloodstream. From this point, it quickly accesses one's brain. This can cause the
       8 caffeine to have an effect for hours after one drinks it. Monster Energy Drinks also
       9 contain additional ingredients such as carnitine, guarana, ginseng and taurine, each

     10 of      which is believed to increase one's energy which may be disruptive to sleep.
     1 1 64. Another side effect of Monster Energy Drinks is dehydration. Amy

     12 Peak, an assistant professor at Butler University's College of
                                                                              Pharmacy and Health
    13 Sciences, reports that the combination of caffeine and guarana in energy drinks can
    14 lead to dehydration. According to Brown University, the caffeine in energy drinks
    15 acts as a diuretic and can leave you severely dehydrated. This is particularly
    16 concerning where one uses Monster Energy Drinks as a pre-workout dietary
    17 supplement.

    18 65. According to a 2009 study by the Mayo Clinic, regulation of energy

    19 drinks, including content labeling and health warnings are the laxest in the United
    20 States.2 According to the study, this absence of oversight has resulted in
    21
    22
             2 This is underscored by the FDA's response to certain senators' requests on the
    23 FDA to investigate health risks associated with mixing caffeine and other
        stimulants.
    24 of           The
          ingredients    FDA said
                      in energy    it had
                                drinks to not found any but
                                          be dangerous, safety studiesthat
                                                            conceded   thattheir
                                                                            showed   the mix
                                                                                 preliminary
        reviewfocusing
    25 FDA,    may be great1y  enhanced
                         particularly on by
                                         theengaging specialized
                                             vulnerabilty        expertise
                                                           of certam       outside the
                                                                       populations   to
       stimulants
    26 energy     ani!especially
              drinks,   the incidence and people.
                                 by young consequence   of excessive
                                                  The FDA   assured theconsumption
                                                                        senators that of
                                                                                      it
    27 was continuing
       research        itsproducts,
                into the  investigatlOn and that
                                    it would     if it did
                                             consider      find such
                                                        taking       risks inaction.
                                                                regulatory     its ongoing
                                                                                     Most
    28 importantly, the FDA acknowledged that resource ana capacity constraints
                                                                         29
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      i aggressive marketing of energy drinks, targeted primarily toward young men and
     2 openly promoting psychoactive, performance-enhancing, and stimulatory effects.
      3 Alarmingly, energy drink consumption has been shown to be positively associated
     4 with high-risk behavior, including marijuana use, sexual risk taking, fighting,
      5 failure to use seat belts, and taking risks on a dare, as well as with smoking,
     6 drinking, problems stemming from alcohol abuse, and ilicit drug uSe.
     7 66. There appears to be no alcohol in Monster Energy Drinks. However,

      8 some clinical studies have demonstrated a relationship between energy drink
     9 consumption and alcohol abuse. According to a study published in the February
     10 2011 issue of "Alcoholism, Clinical and Experimental Research," energy drink
     i 1 consumption appears to be a risk factor for alcohol dependence. Specifically,
    12 college students who reportedly drank energy drinks daily or weekly, were more
    13 likely to report consuming alcohol more frequently and in greater amounts, than
    14 students who drank energy drinks less than once a week or not at alL.
    15 67. Monster Energy Drinks' addiction can be a problem for teens,

    16 adolescents and older working adults since caffeine is known to be addictive.
    17 Adolescents and adults may be consuming this beverage and the drug it contains -
    18 caffeine - to fight for increased energy and stamina. Monster Energy Drinks
    19 abound, including lo-cal and lo-carb mixes, all packaged in the conspicuous black
    20 can sporting the m .
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    25
    26 precl~de .the government or government-funded toxicity testing of all possible
       combinations.
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        1 G. Defendants Have Profited Immensely from Their False and Misleading

       2 Labeling and Advertising
       3 68. Defendants' unique approach to labeling, print and internet
       4 advertising, promotion and general marketing of the Monster Energy Drinks has
       5 been immensely profitable. MBC is one of the fastest growing public companies.
       6 69. Defendants boast that more than 8 bilion cans of Monster Energy@

       7 have been sold and consumed in the United States and around the world since
       8 2002.

       9 70. Indeed, of the Company's two reportable segments - DSD, whose

     10 principal products comprise Monster Energy Drinks, and Warehouse, whose
     11 principal products comprise juice based and soda beverages - the Company's DSD
     12 segment represented 94.4%, 93.0% and 91.4% of                       the Company's consolidated net
     13 sales for the years ended December 31, 2011, 2010 and 2009, respectively.
     14 Monster Energy@ Drinks represented 91.2%, 89.9% and 90.0% of
                                                                                            the Company's
     15 net sales for the years ended December 31, 2011, 2010 and 2009, respectively.
     16 These figures demonstrate that Monster Energy Drinks are materially significant to
     17 the very existence of
                                                 the Company.
     18 71. Further, in filings with the Securities and Exchange Commission, the

     19 Company states that its gross profit for the year ended December 31, 2011, was
    20 $894.3 milion, an increase of approximately $214.1 milion, or 31.5% higher than

    21 the gross profit of $680.2 millon for the year ended December 3 i, 2010. The
    22 Company admits that the increase in gross profit dollars was primarily the result of
    23 the $446.7 millon increase in gross sales of Monster Energy@ brand energy

    24 drinks. Gross sales were $ 1 ,488.5 millon for the year ended December 31, 2010,
    25 an increase of approximately $179.2 millon, or 13.7% higher than gross sales of
    26 $ 1 ,309.3 milion for the year ended December 31, 2009. Again, the increase in the
    27 gross sales of the Monster Energy@ brand energy drinks represented

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      1 approximately $162.1 milion, or 90.5%, of the overall increase in gross sales in
      2 2010. The increase in gross sales and hence gross profits for other relevant years is
      3 also directly attributable to Monster Energy Drinks.
      4 72. The Company's public filings recognize the risk that because Monster
      5 Energy Drinks currently generate the vast majority of revenues (over 94% in
      6 201 1 ), any criticism of the Monster Energy Drinks, whether by health             care
      7 professionals of the nutritional benefits the Monster Energy Drink, could result in
      8 decreased demand, which in turn could have an adverse effect on Defendants'
      9 future business and financIals.
     10 73. The Company also acknowledges that there are currently pending
     1 1 proposals to enact legislation to limit or restrict the sale of energy drinks generally
    12 to minors and/or persons below a specified age and/or the venues in which energy
    13 drinks can be sold and/or impose taxation on the sale of energy drinks. Defendants
    14 concede that should these proposals succeed, any such legislation would result in a
    15 reduction in demand for Monster Energy Drinks and adversely affect the
    16 Company's profit margin. Thus, by its own admission, Monster Energy Drinks

    17 and their continued availability to all - even minors, teens, and youth - are vital to
    18 the Company's continued success, and even to its very existence.
    19 H. The Company's Energy Drink Labeling Has Been Under Investigation
    20 by Various Regulators
    21 74. Defendants have so far evaded any meaningful regulation of their

    22 product by the FDA primarily by classifying Monster Energy Drinks as a "dietary
    23 supplement," i.e., not a conventional "food" or "beverage." Ordinarily the FDA
    24 evaluates the safety of ingredients for beverages or other conventional foods

    25 (including "energy drinks" represented as beverages, which are conventional

    26 foods) through food additive premarket programs that generally focus on
    27 individual ingredients that may be used in a range of food, rather than on a
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       1 product-specific basis. The FDA concedes that it does not have authority to
      2 require a manufacturer to submit each formulated product for pre-market review.

      3 75. Defendants have relied on this gray area to circumvent applicable

      4 standards by marketing the Monster Energy Drinks akin to a beverage or sports
      5 drink, but not being subject to regulation by classitying them as a "dietary

      6 supplement."

      7 76. In July 2012, the Company was subpoenaed by the New York
      8 attorney general in connection with an investigation into its advertising, marketing,
      9 promotion, ingredients, usage and sale of its Monster Energy Drinks, specifically
     10 whether the Company was misleading consumers about how much caffeine the
     11 drinks contain and the health risks they could pose. The attorney general

     12 investigation focuses, among other things, on whether Defendants (and other
     13 companies) violated federal law in promoting the drinks as dietary supplements
     14 rather than as foods, which are regulated more strictly.
     15 77. State investigators are also examining whether all of the ingredients
     16 that go into the beverages are properly disclosed particularly since some additives,

     17 like black tea extract and guarana, may contain additional caffeine that is not
     18 reflected when the drinks are labeled.
     19      78. In an October 31, 2012 letter, the City Attorney of San Francisco,
    20 Dennis J. Herrera, sent a letter to MBC demanding that it provide evidence that
    21 supports the advertising and marketing claims it makes to adolescents for its
    22 energy drinks and to substantiate its claim that large daily quantities of Monster
    23 Energy Drinks were safe for adolescents and adult, including claims that
    24 consumers of
                       Monster Energy Drinks:
    25
                      ~ "(CJan never get too much of a good thing!"
    26
                      . "3 cans per day" of 16 oz. Monster is "responsible" or safe
    27                 consumption by adolescents and adults
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      1
                      · "(BJigger is better"
      2               . "2 cans per    day" of 24 oz. Monster is "responsible" or safe
      3                 consumption by adolescents and adults
      4               . Monster and Monster Mega are safe for consumption except for
      5                 "children, pregnant women or people sensitive to caffeine."
      6      79. Mr. Herrera observed that MBC seems to have chosen to label its
      7 Monster Energy Drinks as a "dietary supplement" rather than as a conventional
      8 food or beverage in an attempt to circumvent the safety standards required for food
      9 and beverage additives. Mr. Herrera's letter noted that Monster Energy Drinks did
     10 not meet the definition of a "dietary supplement." He remarked:
     1 1 As the FDA has explained, "the packaging of liquid products in

     12 bottles or cans similar to those in which single or multiple
     13 servings or beverages like soda, bottled water, fruit juices, and
     14 iced tea are sold, suggests that the liquid product is intended for
     15 use as a conventional food." Monster is marketed in a single
    16 serving can similar in size, shape and appearance to
    17 conventional beverages. . . .
    18 80. Mr. Herrera also pointed out that the fact that MBC refers to its
    19 products as "Monster Energy drinks," and states that "Monster Energy delivers
    20 'twice the buzz of a regular energy drink,'" belied any notion that "(MBC'sJ

    21 products are not beverages." Indeed, the Company's public filings reinforce this-
    22 nowhere in its public filings does the Company refer to Monster Energy Drinks as
    23 a "dietary supplement." In describing its signature Monster Energy@ Drink, the

    24 Company states: "In 2002, we launched a new carbonated energy drink under the
    25 Monster Energy@ brand name in 16-ounce cans . . . . Our Monster Energy@ drinks
    26 contain vitamins, minerals, nutrients, herbs and supplements (collectively,
    27 'supplement') and are marketed through our full service distributor network."
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      1 81. In his letter, Mr. Herrera also noted that
      2 (dJespite exceedingly high caffeine levels, Monster Beverage

      3 Corporation encourages unsafe and irresponsible consumption

      4 of Monster Energy products. Monster's labeling recommends
      5 that individuals consume no more than three 16 oz. cans or two

      6 24 oz. cans per day, which amounts to a total of 48 oz. of
      7 Monster per day. But 48 oz. of Monster contains 480 mg of
      8 caffeine, nearly five times the caffeine that is safe for
      9               adolescents to consume in an entire day, and more than the 400
     10               mg per day the FDA has indicated is safe for healthy adults.
     11 82. Mr. Herrera further noted that "(r)ather than warning consumers to

     12 exercise constraint or caution, Monster's marketing states that 'bigger is always
     13 better' and 'you can never get too much of a good thing.'" The Company urges
     14 consumers to "chug it down," or "throw (itJ back." The Company states that its
     15 product has a "smooth flavor you can really pound down," and that one of its
     16 products has "the biggest chugger friendly wide-mouth we could make."
    17 83. While Monster Energy Drink competitors like Red Bull, NOS, Full

    18 Throttle and Amp are marketed as beverages, the Company continues to market
    19 Monster Energy Drinks as dietary supplements.
    20 84. Many other countries require the Company to sell Monster Energy
    21 Drinks as food. In Canada, Monster Energy Drinks were recently reclassified as
    22 food, and thus are subject to regulation by Health Canada. On January 1,2011, the
    23 Mexican legislature imposed a 25% excise tax on energy drinks based on caffeine
    24 content. In response Defendants adjusted the caffeine levels in Monster Energy
    25 Drinks that are sold in Mexico to address this legislation. In 2011, Hungary

    26 implemented a tax on energy drinks and the Company responded by adjusting the
    27 caffeine content in Monster Energy Drinks sold in Hungary.
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      1                         CLASS ACTION ALLEGATIONS
      2 85. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this

      3 class action and seeks certification of a class comprised of:
      4 All persons who, during the Class Period (four years from the

      5 date of this Complaint to the present) purchased any Monster

      6 Energy Drinks for personal use and not for purposes of further

      7 retail sale or distribution (referred hereinafter as the "Class").
      8 86. For purposes of this class definition, the term "Monster Energy

      9 Drinks" includes Monster Energy@, Lo-Carb Monster Energy@, Monster Energy@
     10 Assau1t@, Monster Khaos@, Monster M-80@, Monster MIXXD@, Monster
     1 1 Energy@ Absolutely Zero, Monster Energy@ Import Light, Monster Energy@ Dub
     12 Edition, Monster Rehab™ Tea + Lemonade + Energy, Monster Rehab™ Rojo Tea
     13 + Energy, Monster Rehab™ Green Tea + Energy, Monster Rehab™ Protean +
     14 Energy, Monster Energy@ M3™ Super Concentrate, Java Monster@ Kona Blend,
     15 Java Monster@ Loca Moca@, Java Monster@ Mean Bean@, Java Monster@

     16 Vanila Light, Java Monster@ Irish Blend@, Java Monster@ Toffee, Monster

     17 Energy@ Import, Monster Energy Extra Strength Nitrous Technology@ Super

     18 DryTM, Monster Energy Extra Strength Nitrous Technology@ Anti-Gravity@,

     19 Monster Energy Extra Strength Nitrous Technology@ Kiler B@, Monster Energy
    20 Extra Strength Nitrous Technology@ Black Ice™, X-Presso Monster@ Hammer,
    21 X-Presso Monster@ Midnite.
    22          87. Excluded from the definition of the Class are: Defendants,
    23 Defendants' employees, any entity in which Defendants have a controlling interest
    24 or which holds a controllng interest in Defendants, including, but not limited to,
    25 any warehouses or distributors in which Defendants have a controllng interest
    26 during the Class Period and Defendants' legal representatives, assigns and
    27 successors; all persons who make a timely election to opt out of the proposed
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       1 Class, and governmental entities, including the Judge and the judicial staff
       2 assigned to this case.
       3 88. Subject to additional information obtained through further
       4 investigation and discovery, Plaintiff may expand or narrow the foregoing
       5 definition by amendment or amended complaint, as permitted by the Court.
       6 89. The Company's practices and omissions apply uniformly to all

       7 members of the Class, so that the questions of law and fact are common to all
       8 members of the Class. All members of the Class were and continue to be similarly
      9 affected by not receiving disclosure of the risks associated with consuming

     10 Monster Energy Drinks, and the relief sought herein is for the benefit of Plaintiff
     11 and members of the Class. Defendants' marketing, advertising and promotional
     12 practices as detailed above applied uniformly to all members of the Class
     13 thròughout the Class Period, so that the questions of law and fact detailed herein
     14 are common to all members ofthe Class.
     15 90. All Class members were and are similarly affected by purchasing

     16 Monster Energy Drinks for their intended and foreseeable purpose as promoted,
     17 advertised, packaged, and labeled by Defendants' and as set forth in detail above.
     18 91. The proposed Class is so numerous that joinder of all members would

     19 be impracticable. Based on the annual sales of Monster Energy Drinks and their

    20 popularity, it is apparent that the number of consumers of Monster Energy Drinks
    21 would be so large as to make joinder impossible. Moreover, the Company

    22 concedes that it had sold over 8 bilion cans of
                                                              Monster Energy Drinks since 2002.
    23 92. Questions of law and fact common to the Class exist that predominate

    24 over questions affecting only individual members, including, inter alia:
    25 (a) Whether Defendants' practices, representations or omissions in
    26 connection with the packaging, labeling, advertising, marketing,
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      1                  promotion and sale of Monster Energy Drinks were false,
      2                  misleading or likely to deceive or confuse consumers;
      3               (b) Whether Defendants' practices, representations or omissions II
      4                  connection with the packaging, labeling, advertising, marketing,
      5                  promotion and sale of Monster Energy Drinks violated the
      6                  MMWA, 15 U.S.C. §2301, et seq.;
      7               ( c ) Whether Defendants' practices, representations or omissions II
      8                  connection with the packaging, labeling, advertising, marketing,
      9                  promotion and sale of Monster Energy Drinks was unfair,
     10                  deceptive or unlawful or in any respect, thereby violating
     11                  California's Unfair Competition Law ("UCL"), Bus. & Prof. Code
     12                  § 17200, et seq.;
    13                ( d) Whether Defendants' practices, representations or omissions II
    14                   connection with the packaging, labeling, advertising, marketing,
    15                   promotion and sale of Monster Energy Drinks was unfair,
    16                   deceptive or unlawful or in any respect, thereby violating
    17                   California's UCL, Bus. & Prof. Code § 17500, et seq.;
    18
                      ( e ) Whether Defendants' practices, representations or omissions II
    19                   connection with the packaging, labeling, advertising, marketing,
    20                   promotion and sale of   Monster Energy Drinks violated California's
    21                   Consumer Legal Remedies Act ("CLRA"), CaL. Civ. Code § 1750,
    22                   et seq.;
    23
                     (f) Whether Defendants failed to disclose, or adequately disclose, the
    24                   amount of caffeine in Monster Energy Drinks or the risks
    25                   associated with caffeine as used in Monster Energy Drinks;
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         1
                         (g) Whether Defendants failed to disclose, withheld or misrepresented
      2                      material information regarding the health effects on Monster
      3                      Energy Drinks is an effort to deceive consumers;
      4                  (h) Whether Defendants' Monster Energy Drink labels were false and
      5                      misleading because they failed to warn the teenagers and youth the
      6                      Company was targeting with its advertising, marketing and
      7                     promotions, of the risks of frequent and excessive consumption of
      8                      energy drinks;
      9                  (i) Whether Defendants acted intentionally in their deceptive and false
     10                     advertising, marketing, promotion and sale of Monster Energy
     11                     Drinks;
     12
                         G) Whether Defendants' practices, representations or omissions
     13                     deceived or have the capacity to deceive;
     14
                         (k) Whether Defendants breached express and implied warranties in
     15                     connection with the packaging, labeling, advertising, marketing,
     16                     promotion and sale of Monster Energy Drinks;
     17
                         (1) Whether Defendants knew or should have known of the false and
     18                     misleading nature of its advertising and labeling before putting the
    19                      Monster Energy Drinks subject to such advertising and labeling
    20                      into the stream of commerce for purchase and use by Plaintiff and
    21                      the Class;

    22
                         (m) Whether Defendants' conduct described above resulted in il-
    23                      gotten gains and, if so, the extent of        the il-gotten gains; and
    24
                         (n) Whether Defendants' conduct as set forth above injured consumers
    25                      and, if so, the nature and extent of the injury; and
    26
                         (0) Whether, and to what extent, injunctive relief should be imposed
    27                      on Defendants to prevent such conduct in the future.
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       1 93. The claims asserted by Plaintiff in this action are typical of the claims
       2 of the members of the Class, as the claims arise from the same course of conduct
       3 by Defendants, and the relief sought is common. The misrepresentations and

       4 omissions as to Plaintiff when he purchased Monster Energy Drinks are similar to
       5 the misrepresentations and omissions made to other Class members across the
       6 country. Plaintiff and all Class members have suffered economic injury as a result
       7 of Defendants' misrepresentations and omissions, and the Company has realized
       8 massive il-gotten gains associated with the sale of its Monster Energy Drinks.
       9 Absent this class action, the members of the Class wil continue to suffer losses
     10 and the violations of law described herein wil continue without a practical remedy,

     11 and Defendants would unjustly retain the proceeds of their il-gotten gains.
     12 Defendants continue to engage in the unlawful, unfair, and unconscionable conduct
     13 that is the subject of           this Complaint.
     14 94. Plaintiff wil fairly and adequately represent and protect the interests
     15 of the members of the Class. Plaintiff has retained counsel competent and
     16 experienced in both consumer protection and class action litigation. Plaintiff and
     17 his counsel do not foresee any circumstances where the interests of Plaintiff would
     18 be adverse to the interests of
                                                 the Class.

     19               95. Certification of this class action is appropriate under Fed. R. Civ. P.

    20 23, because the questions of law or fact common to the respective members of the
    21 Class predominate over questions of law or fact affecting only individual members.
    22 This predominance makes a class action superior to other available methods for the
    23 fair and efficient adjudication of this controversy. It would be economically
    24 impractical for Plaintiff and Class members to pursue individual actions against
    25 Defendants as the costs of prosecution would likely surpass their individual
    26 damages. Thus, Plaintiff and Class members would be left with no effective
    27 remedy for the damages they suffered and continue to suffer. Class treatment of
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       1 Plaintifts claims wil permit Plaintiff and the Class to vindicate their rights against
       2 Defendants and conserve the resources of the Court and the Parties. Class
       3 treatment wil also avoid the possibilty of inconsistent outcomes that could result

      4 from a multitude of individual actions in varying jurisdictions nationwide.
       5 96. Certification also is appropriate because Defendants acted or refused

       6 to act on grounds generally applicable to the Class, thereby making appropriate the
       7 relief sought on behalf of the Class as a whole. Further, given the large number of
       8 consumers of Monster Energy Drinks, allowing individual actions to proceed in
      9 lieu of a class action would run the risk of yielding inconsistent and conflcting

     10 adjudications.
     1 1 97. A class action is a manageable, fair and appropriate method for the
     12 group-wide adjudication of         this controversy in that it wil permit a large number of
     13 claims to be resolved in a single forum simultaneously, efficiently, and without the
     14 unnecessary hardship that would result from the prosecution of numerous

     15 individual actions and the duplication of discovery, effort, expense and burden on
     16 the Courts that individual actions would engender.
     17 98. Plaintiff knows of no difficulty that wil be encountered in the
     18 management of this litigation that would preclude maintenance as a class action.
     19 Moreover, the benefits of proceeding as a class action, including providing a
     20 method for obtaining redress for claims that would not be practical to pursue
     21 individually, outweigh any difficulties that might be argued with regard to the
     22 management of this class action.
     23                                            COUNT        I
     24          For Violations of the UCL, CaL. Bus. & Prof. Code Section 17200, et seq.
     25               99. Plaintiff repeats each and every allegation contained in the paragraphs

     26 above and incorporates by reference each preceding paragraph as though fully set
     27 forth at length herein.
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       1 100. This cause of action is brought pursuant to California Business &

      2 Professions Code § 17200, et seq., which provides that "unfair competition shall
      3 mean and include any unlawful, unfair or fraudulent business act or practice and
      4 unfair, deceptive, untrue or misleading advertising and any act prohibited by

       5 Chapter I (commencing with Section 17500) of the Business and Professions
      6 Code."

      7 101. Defendants' practices, representations and omissions, as set forth

       8 above, were intended to promote the sale of                    Monster Energy Drinks and constitute
      9 unfair, deceptive and/or unlawful business practices within the meaning of
     10 California Business & Professions Code § 17200, et seq.
     11 102. Defendants committed unfair business acts and/or practices.

     12 103. Nothing in Monster's packaging, labeling, advertising, marketing,
     13 promotion or sale of                    Monster Energy Drinks disclosed, or adequately disclosed, the
     14 amount of caffeine in Monster Energy Drinks or the risks associated with caffeine
     15 as used in Monster Energy Drinks, as set forth in detail above.
     16 104. Statements on Defendants' Monster Energy Drinks labels lack proper

     17 warnings, and are thus considered false, misleading and/or deceptive
     18 representations, practices or omissions. Defendants have consistently failed to
     19 disclose or warn consumers that Monster Energy Drinks may increase blood
    20 pressure and/or heart rate of consumers who ingest Monster Energy Drinks or that
     21 such drinks may cause nervousness, irritabilty, and/or sleeplessness, and that this
     22 failure to disclose or warn deceives or tends to deceive consumers.
    23                 105. Consequently, consumers who purchase Defendants' Monster Energy
    24 Drinks may experience an increase in blood pressure and/or an increase in their
     25 heart rate without having knowledge of such adverse reactions associated with
     26 drinking Monster Energy Drinks.

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       1 106. Plaintiff relied on the truth and accuracy of the labeling on Monster
      2 Energy Drinks, but based on the label's failure to disclose, or adequately disclose,
      3 the amount of caffeine in the Energy Drinks or the risks associated with caffeine as
      4 used in Monster Energy Drinks, material facts that would have been substantial
       5 factors in his decision to purchase and consume Monster Energy Drinks for the
      6 reasons set forth above, Plaintiff was deceived by Defendants into purchasing and
      7 paying for the Monster Energy Drinks as set fOlih above.
       8 107. The utility of Defendants' practices, representations and omissions
      9 related to the packaging, labeling, advertising, marketing, promotion and sale of
     10 Monster Energy Drinks without disclosing, or adequately disclosing, that the
     1 1 amount of caffeine in Monster Energy Drinks or the risks associated with caffeine
     12 as used in Monster Energy Drinks, is negligible, if there is any utility at all, when
     13 weighed against the harm to the general public, Plaintiff and members of                              the Class.

     14 108. The harmful impact upon members of                                         the general public and the Class
     15 - particularly the teenagers and youth the Company targets in its advertising,
     16 marketing and promotion campaign - who purchased and used Monster Energy

     17 Drinks outweighs any reasons or justifications by Defendants for the unfair
     18 business practices they employed to sell Monster Energy Drinks described herein,
     19 particularly considering the reasonably available alternatives.
    20 109. Defendants had an improper motive (profit before accurate marketing)

    21 at their intended audience in their practices, representations and omissions related
    22 to the packaging, labeling, adveiiising, marketing, promotion and sale of Monster
    23 Energy Drinks, specifically by implementing promotions and other marketing

    24 strategies designed to attract adolescents and youth, as set forth above.
    25        110. The use of such unfair business acts and practices was and is under
    26 the sole control of Defendants, and was deceptively hidden from members of the
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       1 Class and the general public in their packaging, labeling, adveiiising, marketing,
       2 promotion and sale of             Monster Energy Drinks.
       3 111. Defendants engaged in deceptive acts or practices by failing to

       4 disclose, or adequately disclose, to the consumers targeted by Defendants'

       5 advertising and promotional campaign, the amount of caffeine in Monster Energy
       6 Drinks or the risks associated with caffeine as used in Monster Energy Drinks, as
       7 set forth in detail above.
       8 112. Defendants also engaged in deceptive acts or practices in labeling and

       9 describing Monster Energy Drinks in a manner as to appeal to pre-teens and teens,
     10 and by comparing favorably the "buzz" one gets from drinking Monster Energy
     11 Drinks to that obtained by drinking alcohoL.

     12 113. Defendants engaged in deceptive acts or practices by promoting the

     13 stocking of
                                 Monster Energy Drinks near sports drinks.
     14 114. These deceptive acts and practices had a capacity, tendency, and/or
     15 likelihood to deceive or confuse reasonable consumers into believing that Monster
     i 6 Energy Drinks posed no greater risk to the health of those who drank it than did
     17 other sports drinks, particularly given the existence of peer-reviewed scientifìc

     18 studies indicating the dangers of caffeinated energy beverages.
     19 115. Defendants also engaged in unlawful business practices by violating
    20 California's False Advertising Law ("FAL"), the CLRA, the MMWA as well as
    21 state warranty laws, as set forth in detail below. The violations of these laws serve
    22 as predicate violations of
                                              this prong of   the DCL.
    23 1 16. As a purchaser and consumer of Monster Energy Drinks, and as a

    24 member of the general public who purchased and used Monster Energy Drinks,
    25 Plaintiff has standing and is entitled to and does bring this class action seeking all
    26 available remedies under the DeL.
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      1 117. Pursuant to California Business & Professions Code § 17203, Plaintiff

      2 seeks an order of this Court for injunctive relief and disgorging from Defendants
      3 and restoring to Plaintiff and members of the Class all monies that may have been
      4 acquired by Defendants as a result of such unfair, deceptive and/or unlawful
      5 business acts or practices.
      6 118. Plaintiff, members of the Class and the general public may be

      7 irreparably harmed and/or denied an effective and complete remedy if such relief is
      8 not granted.

      9 119. As a result of Defendants violations of the UeL, Plaintiff and
     10 members of the Class are entitled to restitution for out-of-pocket expenses and
     1 1 economic harm in terms of the price they paid for Monster Energy Drinks.
     12 120. Pursuant to California Civil Code §3287(a), Plaintiff and members of
     13 the Class are further entitled to pre-judgment interest as a direct and proximate
     14 result of Defendants' wrongful conduct. The amount on which interest is to be
     15 applied is a sum certain and capable of calculation, and Plaintiff and members of
     16 the Class are entitled to interest in an amount according to proof.
     17                                      COUNT        II
     18        For Violations of   the FAL, Bus. & Prof. Code Section 17500, et seq.
     19       121. Plaintiff repeats each and every allegation contained in the paragraphs
     20 above and incorporates by reference each preceding paragraph as though fully set
    21 forth at length herein.
    22          122. In violation of California Business & Professions Code Section
    23 17500, Defendants have disseminated, or caused to be disseminated advertising,
    24 labeling, packaging, marketing, and promotion of Monster Energy Drinks that is
    25 deceptive because of its failure to warn of the particular dangers inherent in
    26 consuming a highly caffeinated beverage by adolescents and youth.
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      1 123. Defendants compounded this deception by likening the effect of

      2 drinking Monster Energy Drinks to consuming alcohol in the advertising,
      3 packaging and labeling of Monster Energy Drinks, and by promoting the stocking
      4 of     Monster Energy Drinks near sports drinks.
      5 124. These acts deceptively represented Monster Energy Drinks as posing

      6 no greater risk to the health of   those who drank it than did sports drinks.
      7 125. Defendants' representations and omissions for Monster Energy Drinks

      8 are by their very nature unfair, deceptive and/or unlawful within the meaning of
      9 California Business & Professions Code Section § 17500, et seq., and were likely to
     10 deceive reasonable consumers.

     1 1 126. In making and disseminating the representation and omissions alleged

     12 herein, Defendants knew or should have known they were misleading, particularly
     13 given the existence of peer-reviewed scientific studies indicating the dangers of
     14 caffeinated energy drinks. Accordingly, Defendants acted in violation of
     15 California Business & Professions Code Section § 17500, et seq.
     16 127. As a direct and proximate result of Defendants' wrongful conduct,
     17 Plaintiff and the Class members have suffered substantial harm.
     18 128. Pursuant to California Business & Professions Code Section § 17535,

     19 Plaintiff, on behalf of himself and others similarly situated, seeks an order of this
    20 Court restoring all monies that may have been acquired by Defendants as a result
    21 of such deceptive acts and/or practices.
    22 129. As a result of Defendants' violations of the FAL, Plaintiff and the
    23 Class are entitled to restitution for out-of-pocket expenses and economic harm.
    24                130. Pursuant to California Civil Code Section 3287(a), Plaintiff and
    25 members of the Class are further entitled to pre-judgment interest as a direct and
    26 proximate result of Defendants' wrongful conduct. The amount on which interest
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      1 is to be applied is a sum certain and capable of calculation, and Plaintiff and
      2 members of              the Class are entitled to interest in an amount according to proof.
      3 COUNT                                                                      III
      4 For Violations of the CLRA, CaL. Civ. Code Section 1750, et seq.

      5 131. Plaintiff repeats each and every allegation contained in the paragraphs

      6 above and incorporates by reference each preceding paragraph as though fully set
      7 forth at length herein.

      8 132. This cause of action is brought pursuant to the CLRA.

      9 133. Plaintiff and each member of the Class are "consumers" within the

     10 meaning of California Civil Code § 176 i (d).
     11 134. The purchases of Monster Energy Drinks by Plaintiff and each
     12 member of the Class were and are "transactions" within the meaning of California
     13 Civil Code §1761(e).

     14 135. Defendants have violated the CLRA by, among other things, their

     15 representations, practices and omissions in the labeling, advertising, marketing,
     16 promotion and sales of Monster Energy Drinks that Monster Energy Drinks were
     17 safe for consumption when they knew or had access to information that indicated
     18 that Defendants' representations were false and misleading.
     19 136. Defendants' labeling, advertising, marketing, promotion and sales of
    20 Monster Energy Drinks as alleged herein, violated Section 1770(a) of                    the CLRA in
    21 at least the following respects for the reasons set forth in detail above:
    22                           (a) Misrepresenting the source, sponsorship, approval, or certification
    23                                 of goods or services (CaL. Civ. Code § 1770(a)(2));
    24
                                 (b) Representing that goods or services have sponsorship, approval,
    25                                 characteristics, ingredients, uses, benefits, or quantities which they
    26                                 do not have (CaL. Civ. Code § 1770(a)(5));
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       1
                              (c) Representing that goods or services are of a particular standard,
       2                         quality, grade, or that goods are of a particular style or model, if
       3                         they are of another (CaL. Civ. Code § 1770(a)(7));
      4                       (d) Advertising goods or services with intent not to sell them as
       5                         advertised (CaL. Civ. Code § 1770(a)(9));
       6                      (e) Representing that a transaction confers or involves rights,
       7                         remedies, or obligations which it does not have or involve, or
       8                         which are prohibited by law (CaL. Civ. Code §1770(a)(14)); and
      9                       (f) Representing that the subject of a transaction has been supplied in
     10                          accordance with a previous representation when it has not (CaL.
     11                          Civ. Code § 1770(a)(16)).
     12 137. As a result of                 the use or employment by Defendants of     methods, acts
     13 or practices declared unlawful by the above provisions of CaL. Civ. Code § 1770,

     14 Plaintiff suffered damage in that he bought the Monster Energy Drinks and thus
     15 paid monies that he would not have expended had the true facts been accurately
     16 disclosed to him and had Monster Energy Drinks not been promoted as they were
     17 in light of the material adverse facts set forth above, or spent more money on
     18 Monster Energy Drinks than he otherwise would have. Plaintiff therefore seeks
     19 and is entitled to, on behalf of both himself and members of the Class, equitable
    20 relief in the form of an order for injunctive relief and requiring Monster to make
    21 full restitution of all monies wrongfully obtained as a result of the conduct
    22 described above.

    23        138. Pursuant to California Civil Code § 1780(d), Plaintiff requests that this
    24 Court enjoin Defendants from continuing to employ the unlawful methods, acts,
    25 and practices alleged herein. If Defendants are not restrained from engaging in

    26 these types of practices in the future, Plaintiff and other members of the Class wil
    27 continue to suffer harm.
    28
                                                                   48
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      1 139. This cause of action does not, at this point, seek monetary damages

      2 but is confined solely to injunctive relief. Plaintiff wil seek to amend this class
      3 action Complaint to seek damages in accordance with the CLRA after providing
      4 Defendants with notice pursuant to California Civil Code § 1782.
      5 140. Regardless of an award of damages, Plaintiff also separately seeks and

      6 is entitled to, pursuant to section 1780( d) of the CLRA, an order for the equitable
      7 relief described above, as well as costs, attorneys' fees and any other relief which
      8 the Court deems proper.

      9 COUNT                      iV
     10 Breach of Express and Implied Warranty
     1 1 141. Plaintiff repeats each and every allegation contained in the paragraphs

     12 above and incorporates by reference each preceding paragraph as though fully set
     13 forth at length herein.
     14 142. Plaintiff and the Class purchased Monster Energy Drinks. By virtue
     15 of their purchases and the payment of monies, they formed a contract that included
     16 promises and affirmations made by Defendants through the labeling, packaging
     17 and accompanying advertising and marketing of the Monster Energy Drinks.
     18         143. The labeling and packaging of Monster Energy Drinks constitutes
     19 express warranties that Monster Energy Drinks are the "ideal combo of the right
     20 ingredients in the right proportion," and "bigger is better. . . because you can never
     21 get too much of a good thing." These warranties became part of the bargain

     22 between Plaintiff and the Class on the one hand and Defendants on the other.
     23         144. Plaintiff and the members of the Class relied upon Defendants'
     24 statements and Defendants' research and investigation regarding the safety of the
     25 Monster Energy Drinks in purchasing and consuming them.
     26 145. Defendants intended to and did in fact, and continue to the present,
     27 target their marketing to teenagers and adolescents by handing out free samples of
     28
                                                  49
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       1 Monster Energy Drinks outside high schools, sports and music events without
       2 regard to the age of the recipient.
       3 146. Monster Energy Drinks were not fit for the purposes for which they

       4 were intended, particularly not to the audience that Defendants was targeting with
       5 their Monster Energy Drinks. The Monster Energy Drinks Plaintiff consumed

       6 were neither safe for their intended use, nor of merchantable quality, in that they
       7 do not contain "the right ingredients in the right proportions" for adolescents and
       8 youth. Defendants, thus, breached their express warranties with Plaintiff and the
       9 Class, and they have been injured as a result.
     10 147. Whether or not expressly made, such warranties that the Monster

     1 1 Energy Drinks are fit for the purposes intended and are safe is implied by law in all
     12 consumer transactions.
     13 148. Unless excluded or modified, a warranty that the goods shall be
     14 merchantable is implied in a contract for their sale if the seller is a merchant with
     15 respect to goods of
                                    that kind. See U.C.C. §2-314; CaL. Com. Code §2314.
     16 149. Monster Energy Drinks are "goods," as defined in the Uniform and

     17 California Commercial Code. U.C.C. §2-1 05( 1).
     18 150. Plaintiff
                                      and members of   the Class are each a "Consumer" meaning an
    19 individual who buys or contracts to buy goods that, at the time of contracting, are
    20 intended by the individual to be used primarily for personal, family, or household
    21 purposes. U.C.C. §2-314.

    22                   151. As designers, manufacturers, licensors, producers, marketers, and
    23 sellers of the Monster Energy Drinks, the Company is a "merchant" within the
    24 meaning of the D.C.C. and California Commercial Code. U.C.C. §2-1 04(1); CaL.
    25 Com. Code §2104(1).
    26 152. By placing the Monster Energy Drinks in the stream of commerce,

    27 Defendants impliedly warranted that the Monster Energy Drinks are reasonably
    28
                                                         50
           CLASS ACTION COMPLAINT
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      1 safe, effective and adequately tested for its intended use, i.e., are fit for the
      2 ordinary purposes for which goods of that description are used and are adequately
      3 contained, packaged, and labeled.

      4 153. Defendants marketed and sold Monster Energy Drinks using
      5 misleading marketing materials emphasizing the positive aspects of the Energy
      6 Drinks while neglecting to inform the consumer of the risks associated with its
      7 consumption, including increase heart rate, high blood pressure, arrhythmia,

      8 dehydration, sleep deprivation and diarrhea.

      9 154. As merchants of the Monster Energy Drinks, Defendants knew that

     10 purchasers relied upon them to design, manufacture, license and sell products that
     11 were reasonably safe and effective. Defendants impliedly warranted to Plaintiff
     12 and members of the Class that Monster Energy Drinks were of merchantable
     13 quality and safe and fit for the use for which they was intended. Plaintiff and the
     14 Class reasonably relied entirely on Defendants' expertise, knowledge, skill,
     15 judgment, and implied warranty in choosing to purchase and consume Monster
     16 Energy Drinks.
     17 155. Plaintiff and the Class members purchased the Monster Energy Drinks

     18 for its intended purpose i.e. for consumption.
     19 156. In breach of Defendants' implied warranties, the Monster Energy

    20 Drinks are unsafe, ineffective and not merchantable for ways which include, but
    21 are not limited to the fact, that it can cause serious and even fatal health problems,
    22 that the caffeine content in the Monster Energy Drinks is dangerously high for
    23 consumption by adolescents and children, that frequent and excessive consumption
    24 may result in increasing heart rate, blood pressure, other cardiovascular

    25 complications, sleep deprivation and diarrhea, among others.
    26        157. Monster Energy Drinks are not reasonably safe for their intended use
    27 and the labels do not adequately warn of such dangers or even disclose the caffeine
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                                                 51
         CLASS ACTION COMPLAINT
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       1 content, especially for teenager and youth targeted by the Company's advertising,
       2 marketing and promotion campaign.

       3 158. Plaintiff and the Class, who could not have known about the nature of

       4 the risks and side effects associated with Monster Energy Drinks until after they
       5 purchased or used it. Moreover, the risks associated with consuming Monster

       6 Energy Drinks far outweigh any perceived benefits.
       7 159. By selling, delivering and/or distributing the defective Monster
       8 Energy Drinks to Plaintiff and the Class, Defendants breached the implied

       9 warranty of merchantability and the implied warranty of fitness.
     10 160. As a direct and proximate result of Defendants' breach of implied
     1 1 warranties, Plaintiff and Class members have sustained injuries by purchasing the
     12 Monster Energy Drinks which were not safe or effective as represented, thus
     13 entitling Plaintiff to judgment and equitable relief against Defendants, as well as
     14 restitution, including all monies paid for the Monster Energy Drinks.
     15 COUNT
                                                       V
     16 For Violations of the MMWA, 15 U.S.C. Section 2301, et seq.
     17 161. Plaintiff repeats each and every allegation contained in the paragraphs
     18 above and incorporates by reference each preceding paragraph as though fully set
     19 forth at length herein.
    20 162. Plaintiff and Class members are "consumers" within the meaning of

    21 theMMWA.
    22 163. The Company is a "supplier" and "warrantor" within the meaning of
    23 theMMWA.
    24            164. Monster Energy Drinks are "consumer products" within the meaning
    25 of
                the MMWA.
    26        165. Defendants' written affirmations of fact, promises and/or descriptions,
    27 as alleged herein, are each a "written warranty" and/or there exists an implied
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                                                  52
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       1 warranty for the sale of Monster Energy Drinks within the meaning of the

       2 MMW A, i.e., that they are safe for consumption.
       3 166. The Company breached its warranties as Monster Energy Drinks were
       4 not fit for their intended use, and thereafter the Company has refused to honor any
       5 applicable warranties by refunding the price paid for such products despite demand
       6 therefor. Defendants' conduct thereby caused damages to Plaintiff and members
       7 of the Class.

       8 167. The amount in controversy meets or exceeds the sum or value of $5

       9 milion (exclusive of interest and costs) computed on the basis of all claims to be
     10 determined in this suit.
     11 168. As a result of         the Company's breach of             warranties, Plaintiff and Class
     12 members have sustained damages and other losses in an amount to be determined
     13 at trial, as well as attorneys' fees, rescission, and/or other relief as is deemed

     14 appropriate.
     15 COUNT
                                                                   VI
     16 Unjust Enrichment
     17 169. Plaintiff repeats each and every allegation contained in the paragraphs
     18 above and incorporates by reference each preceding paragraph as though fully set
     19 forth at length herein.
    20 170. At all times relevant hereto, Defendants designed, manufactured,

    21 licensed, produced, promoted, marketed and/or sold the ineffective, dangerous and
    22 improperly labeled Monster Energy Drinks.

    23 171. Plaintiff and members of the Class conferred a benefit upon
    24 Defendants by paying for a product with benefits that could not be provided or
    25 delivered and were not safe and effective as advertised. By means of their material
    26 misrepresentations and omissions, as set forth above, Defendants induced Plaintiff
    27 and the Class to purchase Monster Energy Drinks provided no substantial benefit
    28
                                                              53
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       1 to consumers, but actually may have caused significant detriment to their health
       2 and mental well-being. As a consequence of such misrepresentations and

       3 misconduct, Plaintiff and the members of the Class paid monies to obtain the
       4 Monster Energy Drinks.

       5 172. Defendants voluntarily accepted and retained the benefit of the

       6 monies paid by Plaintiff and the Class with full knowledge of the dangers of the
       7 Monster Energy Drinks and without adequately disclosing those risks.
       8 173. Defendants have been enriched5 at the expense of Plaintiff and the

       9 Class, by retaining monies for benefits5 which they did not provide.
     10 174. Plaintiff
                               and the Class have no adequate remedy at law.
     11 175. It would be unjust and inequitable for Defendants to retain the profits,
     12 benefits, and other compensation obtained from its wrongful conduct as alleged
     13 herein.
     14 PRAYER FOR RELIEF
     15 WHEREFORE, Plaintiff, on behalf of himself and all others similarly
     16 situated, prays for judgment against Defendants as follows:
     17 A. Certifying the Class as requested for all claims asserted herein;
     18 B. Awarding Plaintiff and the proposed Class members actual, statutory
     19 and punitive damages;
    20 C. Awarding declaratory and injunctive relief as permitted by law or
    21 equity, including corrective labeling5 advertising and marketing;

    22 D. Ordering that Defendants be required to make full restitution of all
    23 monies wrongfully obtained as a result of the conduct described above and

    24 disgorge all il-gotten gains flowing from the conduct described above;

    25 E. Ordering that Defendants be required to pay pre- and post-judgment

    26 interest on all such sums;
    27        F. Providing such further   relief as may be just and proper;

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     i                          Other legal            eauitable relief permitted with respect to the causes of
     2 action stated herein;

     3 H. trial by jury on ali issues so triable; and;
     4 i. Such other and further relief as the Court                             may deem just and proper.
     5 DEMAND                                                  FOR JURY TRIAL
     6 Plaìntiffhereby demands a trial by jury with respect to any claims so triable.
     7
                            December i 2012
     8 DATED:



     9
    10
    11                                                            9 l01 Wilshire Blvd., Suite 450
    12                                                            Beverly Hils) CA 90210
                                                                  Telephone: (310) 853-8010
    13                                                             Facsimile: (310) 853-80 i i
    14                                                            azram@themehdifirm.com

    15
                                                                   Attorney for Plaintiff and the (Proposed)
    16                                                             Class
    17

    18

    19

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                        EXHIBIT A
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     U.S. Department of Health and Human Services
     Food and Drug Administration
     Center for Food Safety and Applied Nutrition

     CFSAN Adverse Event Reporting System
     Voluntary and Mandatory Reports on 5-Hour Energy, Monster Energy, and Rockstar
     Energy Drink
     January 1,2004, through October 23,2012


     Introduction

     FDA's Center for Food Safety and Applied Nutrition (CFSAN) Adverse Event Reporting
     System (CAERS) collects reports about adverse health events and product complaints
     related to CFSAN-regulated products, including conventional foods, dietary supplements,
     and cosmetics. Based on a search of CAERS, this document summarizes the adverse
     events reported to FDA in connection with products under the labels 5-Hour Energy,
     Monster, and Rockstar between January 1,2004 and October 23, 2012. These products
     are currently marketed as dietary supplements.

     CAERS includes voluntary reports for cosmetics and conventional foods, and both
     Ýoluntary and mandatory reports for dietary supplements. Mandatory reports are those
     required by the Dietary Supplement and Nonprescription Drug Consumer Protection Act.
     Specifically, dietary supplement manufacturers, packers, and distributors must notify
     FDA if they receive reports about serious adverse events in connection with the use of
     their products. This law defines a serious adverse event as an adverse health-related event
     that is associated with the use of a dietary supplement and that results in death, a life-
     threatening experience, inpatient hospitalization, a persistent or significant disability or
     incapacity, a congenital anomaly or birth defect, or that requires, based on reasonable
     medical judgment, a medical or surgical intervention to prevent one of those outcomes.
     The requirement to report serious adverse events to FDA applies only to dietary
     supplements and not to beverages, other conventional foods, or cosmetics.

     Medical offcers with the agency's Dietary Supplement Program staff review all serious
     adverse events reported to FDA about dietary supplements as part of  the normal process
     of assessment and categorization. In addition to these mandatory reports, the CAERS
     system also contains adverse events (both serious and non-serious) that are voluntarily
     reported to FDA by consumers and health care providers.

     FDA encourages consumers and health care providers to report adverse events they
     believe may be related to FDA-regulated products to FDA's MedWatch Adverse Event
     Reporting Program (http://www.fda.gov/Safetv/MedWatch/default.htm). FDA advises
     consumers to talk with their health care providers before using any product marketed as
     an "energy shot" or "energy drink."




                                                                                                    Exhibit A

                                                                                                      56
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     Things You Should Know About Adverse Event Report Data

     Individual adverse event reports about a particular product and the total number of
     adverse event reports for that product in CAERS only reflect information AS
     REPORTED and do not represent any conclusion by FDA about whether the product
     actually caused the adverse events. Because CAERS is constantly updated with new
     information, the number of reports for a given product and the content of individual
     reports may' change over time.

     Even with mandatory reporting of serious adverse events for dietary supplements,
     generally only a small fraction of adverse events associated with any product is reported.
     On the other hand, there may be duplicate reports in CAERS for the same adverse event
     because multiple people (such as an injured consumer and a health care provider who
     treated him or her) may have submitted reports.

     There are important limitations to making inferences based on data from adverse event
     reports, such as those in CAERS.

         . Reports to FDA do not necessarily include all relevant data, such as whether an
            individual also suffered from other medical conditions (such as cardiac disease) or
            took other supplements or medication at the same time.

        . Reports may not include accurate or complete contact information for FDA to
            seek further information about the event, or complainants may choose not to
            participate in the follow-up investigation.

     When important information is missing from a report, it is diffcult for FDA to fully
     evaluate whether the product caused the adverse event or simply coincided with it. The
     fact that an adverse event happened after a person took a dietary supplement does not
     necessarily mean that the dietary supplement caused the adverse event.




                                                                                                  Exhibit A

                                                                                                    57
The Center for Food Safety Adverse Event Reporting System (CAERS) is a post-market surveilance system that collects reports about events or problems that are allegedly
related to CFSAN regulated products. In some reports, information in the reports cannot be verified for accuracy. Furthermore, in many reports, individuals may have used
other products, and many products contain multiple ingredients which further complicates the evaluation of adverse event reports.

There is no certinty that a reported adverse event can be attributed to a paricular product or ingredient. The number of adverse event reports in CAERS received by FDA and
the adverse event report itself about a paricular product only reflects information AS REPORTED and does not represent any conclusion by FDA regarding a causal
relationship or association with the product or ingredient. Due to the continuous inclusion of new or updated information into the CAERS system, reports released from
CAERS containing adverse event data may change over time.

Each report received by CAERS regarding an individual that experiences an adverse event is assigned a unique report number (Report #).

*Previous versions of this document may include CAERS reports 150942 and 150496. Since we received two CAERS reports for the same individual, we have merged them
into a single CAERS report (150942).




                             MONSTER ENERGY .IABDOMINAL PAIN UPPER,
                             ENERGY SUPPLEMENT RETCHING, VOMITING, DIARRHOEA,
                             DRINK WEIGHT DECREASED, DIZZINESS,
                                                           HOSPITALISATION



71234        8111/04         MONSTER ENERGY                MYOCARDIAL INFARCTION,       HOSPITALIZATION, LIFE THREATENING
                             DRINK                         ELECTROCARDIOGRAM ST
                                                           SEGMENT ELEVATION,
                                                           HOSPITALISATION

75388        1/10/05         MONSTER BEVERAGE ¡FATIGUE                                  VISITED A HEALTH CARE PROVIDER
                             CO MONSTER ENERGY


78111        4/6/05          HANSENS MONSTER I             PHARYNGITIS, DIZZINESS ¡NON-SERIOUS INJURIES/ILLNESS
                              ENERGY DRINK

86237        3/22/06         MONSTER ENERGY ¡TREMOR, DYSPNOEA, VOMITING, I               HOSPITALIZATION, VISITED AN ER, LIFE THREATENING
                             DRINK CHEST PAIN. TREMOR,
                                                           RHABDOMYOL YSIS, MYOCLONUS


111857       4/7109           MONSTER ENERGY ¡DEATH                                      DEATH
                              DRINK
                                                                                                                                                                                      Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 60 of 67 Page ID #:79




112784       417109          MONSTER BLUE LOW ¡NAUSEA, THROAT IRRITATION                 NON-SERIOUS INJURIESI ILLNESS                                                        Exhibit A
                             CARB ENERGY DRINK
                                                                                          Page i                                                                                 58
                                         BIPOLAR DISORDER, PSYCHOTIC
                                         DISORDER, PERSONALITY
                                         DISORDER, SUICIDAL IDEATION

116885    6/2/09     JAVA MONSTER PLUS   GASTROENTERITIS SALMONELLA,      NON-SERIOUS INJURIES/ILLNESS
                     ENERGY ENERGY       MALAISE, VOMITING, BACK PAIN,
                     DRINK RUSSIAN       HEADACHE. ABDOMINAL PAIN,
                     FLAVOR              COUGH, DIARRHOEA



128536    7/28/10    MONSTER ENERGY      FATIGUE, INFLUENZA LIKE ILLNESS, THREATENING, HOSPITALIZATION
                     DRINK               MEMORY IMPAIRMENT, MIGRAINE,
                                         ANGINA PECTORIS, PALPITATIONS,
                                         EYE PAIN, MALAISE, DYSURIA,
                                         NEUROPATHY PERIPHERAL, NIGHT
                                         SWEATS, DECREASED APPETITE,
                                         ASTHENIA, PAIN, INSOMNIA,
                                         HEADACHE, FLUSHING, VISUAL
                                         ACUITY REDUCED




130690    10/5/10    MONSTER ENERGY      DYSPNOEA, POLLAKIURIA, BLOOD ¡VISITED AN ER, HOSPITALIZATION
                     DRINK               POTASSIUM DECREASED

132041A   11/12110   MONSTER NITROUS     DEATH                            DEATH

          6121112

133771    1218110    JAVA MONSTER MEAN ¡VOMITING, ABDOMINAL PAIN          NON-SERIOUS INJURIES/ILLNESS
                     BEAN COFFEE
                     FLAVORED ENERGY
                     DRINK

142050    8/1/11     MONSTER ENERGY I    LETHARGY, ABDOMINAL PAIN,        NON-SERIOUS INJURIES/ILLNESS
                                         HEART RATE ABNORMAL

143117    8/1111     MONSTERILOW CARB ICONJUNCTIVITIS                     VISITED A HEALTH CARE PROVIDER, NON.SERIOUS INJURIES/ILLNESS
                     ENERGY DRINK

144780    4/14/11    MONSTER HIT MAN     NAUSEA, DIZZINESS, VOMITING, ¡NON-SERIOUS INJURIES/ILLNESS
                     ENERGY DRINK        HEART RATE ABNORMAL, BLOOD
                                         PRESSURE FLUCTUATION
                                                                                                                                                Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 61 of 67 Page ID #:80




                                                                                                                                         Exhibit A
                                                                           Page   2                                                        59
145546      111/10/11   (MONSTER ENERGY                                    (VISITED AN ER
                         DRINK             DISCOLOURATION,
                                          IHEART RATE ABNORMAL,
                                                           BLOODSKIN
                                          PRESSURE INCREASED


146476A     12/7/11     MONSTER DRINKS    LOSS OF CONSCIOUSNESS            ¡DEATH

            3127/12



146479
            4i
            112/6/11    ¡MONSTER ENERGY   ¡HEART RATE IRREGULAR,           I HOSPIT ALiZA TION
                         DRINK             DYSPNOEA, ATRIAL FIBRILLATION




147297       12/30111   MONSTER           DEATH                            DEATH
147873       12/5/11    MONSTER ENERGY    ABDOMINAL PAIN                   NON-SERIOUS INJURIES/ILLNESS
                        DRINK
150719      4/3/12      MONSTER ENERGY    FATIGUE, IRRITABILITY,           NON-SERIOUS INJURIES/ILLNESS
                        DRINK             DEPENDENCE

150941       4/6/12     MONSTER           TREMOR, RESPIRATORY RATE         VISITED A HEALTH CARE PROVIDER, HOSPITALIZATION
                                          INCREASED

-*150942A    3/27112    MONSTER ENERGY    CARDIAC ARREST, ARRHYTHMIA,      DEATH
            ~           DRINK             DRUG TOXICITY



151016       4/9/12     MONSTER ENERGY    DYSPNOEA, CHEST PAIN             VISITED AN ER, OTHER SERIOUS (IMPORTANT MEDICAL EVENTS)
                        DRINKS
151782       4/27/12    M'ER ENERGY       THROAT TIGHTNESS,                 HOSPITALIZATION
                        REHAB PROTEAN +   HYPERSENSITIVITY
                        ENERGY 15.5 OZ
152471       5/15/12    MONSTER ENERGY    DIARRHOEA. VOMITING,         OTHER SERIOUS (IMPORTANT MEDICAL EVENTS), HOSPITALIZATION
                                          CHROMATURIA, JAUNDICE,
                                          PRURITUS, ANOREXIA, BILIARY
                                          SPHINCTEROTOMY, CHOLESTASIS,
                                          GALLBLADDER DISORDER,
                                          PANCREATIC DISORDER
                                                                                                                                            Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 62 of 67 Page ID #:81




                                                                                                                                     Exhibit A
                                                                             Page 3
                                                                                                                                       60
153279   16/11/12       ¡MONSTER ENERGY 16            DIZZINESS, TREMOR, ANXIETY      HOSPITALIZATION
                         OZ
153974   16/29/12       ¡MONSTER ENERGY               OROPHARYNGEAL SWELLING          VISITED AN ER, HOSPITALIZATION
                         IMPORT DUB EDITION
154641   1710/1         ¡MONSTER ENERGY               CONFUSIONAL STATE, CHEST PAIN, IVISITED AN ER, HOSPITALIZATION
                         IMPORT                       PAIN, HEADACHE, CHILLS.
                                                      DIZZINESS


155221   18/7/12        IMONSTER ENERGY 16 DYSPNOEA, FEELING JITIERY,                 HOSPITALIZATION
                         OZ                HYPOAESTHESIA
         I
155267   18/8/12        MONSTER ENERGY                HYPERSENSITIVITY, EMOTIONAL     VISITED AN ER. HOSPITALIZATION
                                                      DISTRESS, URTICARIA
         I
155411   18/10/12         MONSTER ENERGY              HYPERSENSITIVITY, MALAISE       CONGENITAL ANOMALY, REQ.INTERVENTION TO PRVNT PERM.IMPRMNT., LIFE
                          DRINK                                                       THREATENING, DISABILITY
155735   18/22112       1 MONSTER ENERGY             1 HEARTRATE INCREASED,           HOSPITALIZATION
                                                      PALPITATIONS, FALL


155835       8/27/12    MONSTER ENERGY IORAL HERPES. HYPERSENSITIVITY, 1              HOSPITALIZATION
                        ANTI- GRAVITY 12 FL. RASH, PRURITUS
                        OZ


156002   18/30112       ¡MONSTER ENERGY              ¡ABDOMINAL PAIN UPPER,         I HOSPITALIZATION
                         ABSOLUTELY ZERO              VOMITING, SYNCOPE, DIARRHOEA,
                                                      DEHYDRATION

156830   19/20/12       IMONSTER ENERGY              ICHOKING,                       ¡VISITED AN ER, HOSPITALIZATION
                                                      HAEMORRHAGE, FOREIGN BODY
                                                      TRAUMA, RETCHING

             10/11112   MONSTER ENERGY                SYNCOPE, MYOCARDIAL            ¡VISITED A HEALTH CARE PROVIDER
                        REHAB GREEN TEA               INFARCTION, FOOD POISONING,
                        15.50Z                        DIZZINESS, FEELING ABNORMAL

40
                                                                                                                                                                 Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 63 of 67 Page ID #:82




                                                                                                                                                          Exhibit A
                                                                                       Page   4                                                             61
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                                           UNITED 81' A l'ES mS1'RICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                      CIVIL COV£R SHEET

      l (a) PÀt)!~JlJl¡lftrnck oox if        you are reprcsem1ng YOUfse!fO)                            DEfiá1íMèR%EVERAGE CORPORATION
                                                                                                          MONSTER ENERGY COMPANY




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              THE MEtrDI FIRM
              9lf'7 \Vílsliirc Blvd., Suite 45lJ, Beverly Hils, CA 90210 (3ll) 853.8010


    n. BASIS OF .WRlSDlCl10N (Place mi X in nne box oiiiy.)                         m. ClTlZENSIIl OF PRiNCIPAL l'RTIES. For Diverity Cases Only
                                                                                          (Place an X in one box for pliiiiiiHT and one ttir dclèndnot,)
    o i U.S, OovcrnmentPlainiiff             fl3 Federal Quc¡¡!iiln (U.S.
                                                  Goveml1lmt Nt)! a Party)
                                                                                                                                  ~F     m;F                                          PTf HEF
                                                                                    Citzen of'hîs Stale                           I!l    01      Incorporated Of Principal Place     04 i!4
                                                                                                                                                 or Business in this Stnte
    02 U,S. Government Def¡mdarit 04 Diversity (lndkiih: Citizenship Citizen of Another State                                     02 02
                                                  of l'l.ties in Item l!)
                                                                                                                                                 Incorporated and Principal Place    05 05
                                                                                                                                                 of Business in Another Sk1ie

                                                                                   ICitizen or Subject of a Foreign Country 0 3 03 Foreign Nuiion                                    06 06
    iv. OaiGIN (Piilc mi X in one oox (lily.)
         Otlgiiial 02 Removed fmm 03 RemiUiilcd ¡fum 04 Reinstated or 05 Translèrrcd from iinollicr dishier (specify): 06 Multi.                                            o 7 Appeal!O District
             Proceeúing State CtUrl Appelime COUrl Reopened District                                                                                                             Judge from
                                                                                                                                                                 Litigation      Magistrate Judge
    V. REQUESTED TN COMf'L\INT' JURY D£MANÐ: ~Yes 0 No (Check 'Ycs' oiily i¡'demanded in complaint.
    CL4.SS ACTION iinde. F.R.C.l'. 23: f!Yes 0 Nt) M:\IONEY DEMANDED IN COMPLAINT: $ in excess of$5 millon
    Vi. CAUSE OF ACTION (Ciie lhe U.S. Civil Staiule uiidcr Which YOu arc fiing and wriie ¡¡ briefstllemenl of cause. Do not citc jurisdictÎOIlal statutes unless diversity,)
             28 U.S,C. § 11331, Magnuson.Moss Warranty Ac-i (alleged brcuch ot'warraities); 28 U.S.c. § 1332, él seq., Class Action Fairncss Act of2005
VII. NATURE OF SmT (Place aii X Iii oiie box only.)


                                                 lnsuraiicc                                                                                                             710 Fair Labor Stmidards
                                                 Miiinc                            Airplane                                                     Motiúnsto              Act
              Banks and Baiiking                 Miler   Act                       Airplane Product                                             Vacate Sentence o no LaborlMgl1t.
              ComiiercellCC                      Negotiable In¡¡tniiient           Líahìlty                                                     Habeas Corpus          Relations
              Raies!eii~.                        Recoveryol                 0320   Assault. Libel &                                             Geiier¡!        o 730 LaborfJ1gmi.
0460          Deportii!ion                       Overpayment &                     Slander
                                                                                                                                                Deiih Pimalty                Reponlng&
047u          Raeketcer lnl1ucmxd                Enloreemcnt of
                                                                            0330   Fed- Employers'
                                                                                                                                                f\;1aiidullus!               Disclosure Act
              amJComipt                          judgment                          Liabiliy
                                                                                                                                                Other                        Railway Labor Act
              Org.iniiations              0151   Meùic;ìre Act
                                                                            Oj40   Marine
                                                                                                                                                Civll Righis                        Labor
o    "lR()    COIlUIier Credit            0152   Recovery of Del1iultcd
                                                                            034    Murine l'odui:!                                                                           Other
                                                                                                                                                                             Uiigaiiol1
                                                                                   Liability
0490          Cable/Sai     TV                   Studt;nt tOl11
                                                                            0350   Moior Vehicle                                                                             Empt Ret inc,
o g¡o Selective Service                          VetC(llllS)
                                                                            0355   Motor Vehicle
0850 SectlfÍlic&!Coml1odiiics!            0153   Recovery of
                                                                                   Product Liability
              Excliange                          Overpayment 01'             360 O!her l'ersonal
0375          Customcr Challenge 12              Veteriuls Beneliis              Injury                           Voting:
      USC3410                  0160 Stockliolders' Suits                     362 ¡'crsonal liijury-               Employment
~890 Other Statutory lictioiis 0190 Other CmHlnct                                Mcd lvlalpmctìcc                 HousìnglAcco.
0891 Agricutiural Act                     0195   Contract Pmdiict            365 I'crsOlia! Injury.               ininotlntions
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     Act                                    196 Vranchise                          Asbestosl'ersonal             Allericmi with
0893 Environmental Maners                                                          lnjuty Product                 Disabílties -
0894 Energy Allocation Act                D2lO Land Coiiden1mitÌ(lIt                                             EmploynWll!
0&95 Frci.dOln ofll1lo. Act               0220 Foreclosure                                                       Amerícmi with
0900          Appeal ofree Dctcrmí.       0230 Rcnt Lense & EjcelllCnt                                           Disabilities -
              naiion Under Equal          0240 T oris to Land                      ApplicatiQn                   Other                  069()                        o 870 Taxes (U.S. PlaiiiitY
              Access to Justice           0245 Tort Product Liabilty               Habciis Corpus-        0440 OthcrCivil                                                   (1 Defendant)
0950          Coiist¡llilÎonaliy of       0290 All Othcr Real l'mpeny              Alíen Detainec                 Rights                                             0871 IRS-Third Party 26
              Slite Stalutes                                                       Other Imiiigrmion
                                                                                                                                                                            USC 7609
                                                                                   Actions




FOH OfFICEl)SEONLV: CascNullber: EDCY12 - 02188 YAP (OPX)
                                 AFTER COMI'L£TING THE FIlONT SIDE OF FORM CV.il. COMPLETE THE fNl:OHMATION UEQUESTEO BELOW.
                Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 65 of 67 Page ID #:84
                                          UNITED STATES DISTRICT COURT. CENTRAL DISTRICT OF CAliFORNIA
                                                                                      CiV1L COYER SHEET


                                                                                                dismissed, rcmfUtded or closed? ~No


 Vli(b). RELATED CASr:S: Have any cases bcen previoiisly fied in ihis court thai are related to the preseii clIe'? ¡tNo
Ifyes, list ell': number(s):

Civil cases a re deemed related if a previously fied elise imd the present case:
(Check all boxes !Jia1 apply) 0 A. Arise from the same or closely related transactions, happenings. or events; or
                              o R Call for detenninaiion of the same or substantially related or similar questions of law and fact; or

                                       o D. above in a, b or c also is preseni.
                                       DC. For othcrreasoiis would entaif subsiailtial duplication of   labor ìfheard by diffcnmtjudges; or




         List !Jte County in Ihis Dislrict; California County outsidc of!hìs District; Slale ifother than California; or Foreign Country. in which EACH named plainiiffrcsides.
         Chcck Iiereìf the aove . . . . hcckcd
     County in thi,; District'




         List iJie County in this Disi.iet; Calilbrnia County outside ofthís District; Siate if other than Calitòriia; or Foreign Couniry, in wJiich EACH named defendant resides.
         Chcck here if the overnmcnt. lis, cncies or em 10 ces is a named defcndani. If ¡his box is cheeked. 0 to item (c).

                                                                                                Cali Cornia County outside of this District Statc.                           Of Forcign Country




                                                                      this
         List the Coiillty Înthis District; Calilòrnia County outside of       District; State ¡fother than Calílòrnia; or Foreign Country, in which EACll claim arose.
                                                                          fnel oflnnd involved.
 .~                ,"',.       ,;,-.
      "''''',
                                                                                               , Ç~llf.'r?j¡\ Cnunty outsidc öfthis District; S¡¡te. ¡f Qth~rilm)1 California; or Forcign Country




                           "

'" L1¡sAngele~, Orange, San Ikni
;)nte: In IHod condeml1aiion CHses use

X. SIGNATURE Of A TIORNEY (OR PRO PE

         Nolice to CounseIlParl\es: The CV-71 (JS-4 Civil Cover                      the inf01l1mioii cmitiiined herein neither replace nor supplemenlthe fiing and service of pleadings
        or othcr papers as required by law, This lorni, approved by                     . . United Slates in Sepiember 1974, is required pursuant ro Local Rule 3.1 is nor fied
        but is used by Ihe Clerk ofthe Courl for the                       , venue and initiating the civil docket sheet (for more detailed instructions. see separate instniciions sliee\.

Key to Statistical codes reliiing to Social Security Cases:

                  Nature of Suit Code Abbreviatioii               SubsIlinìÌve Statel1ciit of Cnuse of Action


                  861                         HIA                 All claims for health insnrance benefits (Mcdii:are) under Tile 18, Part A. of the Soda! Security Act, as amended.
                                                                  Also. include claims by hospitals, skili:d nursing facilities, etc.. for ceriifieaiion as providers of
                                                                                                                                                                           services. under the
                                                                  progmm. (42 U.sC 1935Fl'b))

                  862                         Bt                  All claims for "Black Lung" benefits under Title 4, Part B, oftliC Fedenil Coal Mine Health and SMtty Act of 1969.
                                                                  (30 U.S.C. 923)
                  863                         DlWC                All claims .fed by insured workers lor disabiliiy insurllcebclicfits under Title 2 oî the Social Security Act. as
                                                                  amended; plus all claims fìcd for child's insurniice benelìtsbascd on disabiliy.(42 U.S.c. 405(g))

                  863                         D1WW                All chiinis tiedlin widows or widowersinsurailÇe bciients bllSed on disablltyutidcr Title 1 (;f IlicSocial Security
                                                                  Act,lI amended, (42 U.s.Ç,405(g))

                  864                         ssm                 All chtims fotsuPPlcllelitnl sceuriiyíncomepaymciits based upon disabilty fied lJiiJerTile 16 of
                                                                                                                                                                               the Soda! Securlty
                                                                  !\ci.;iamendeil
                  865                         RSi                 All clailÙs for retirciieiit(old age) and stiivívots blinctit$ under Tille:\ (lfihe Social Security Act, ic amended.(4Z
                                                                  U,S.C. (g)
Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 66 of 67 Page ID #:85


                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA


         NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUGE FOR DISCOVERY


                    This case has been assigned to District Judge Virginia A. Philips and the assigned
              discovery Magistrate Judge is Oswald Parada.

              The case number on all documents filed with the Court should read as follows:
                                                  EDCV12- 2188 YAP (OPx)
               Pursuant to General Order 05-07 of the United States District Court for the Central
         District of California, the Magistrate Judge has been designated to hear discovery related
         motions.



         All discovery related motions should be noticed on the calendar of the Magistrate Judge




                                                                NOTICE TO COUNSEL

      A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
      fied, a copy of this notice must be served on all plaintiffs).

      Subsequent documents must be filed at the following location:

      U Western Division
            312 N. Spring St., Rm. G-8
                                                    U Southern        Division U
                                                      411 West Fourth St., Rm. 1-053
                                                                                                   Eastern Division
                                                                                                   3470 Twelfh St., Rm. 134
            los Angeles, CA 90012                          Santa Ana, CA 92701-4516                Riverside, CA 92501




      Failure to file at the proper location wil result in your documents being returned to you,




      CV-18 (03/06)            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
 Case 5:12-cv-02188-VAP-KK Document 1 Filed 12/12/12 Page 67 of 67 Page ID #:86
    Name & Address: AZRA Z. MEHDI (220406)
    THE MEHDI FIRM
    9107 Wilshire Blvd., Suite 450
    Beverly Hils, CA 90210



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
   ALEC FISHER, Individually and on Behalf of All CASE NUER
   Others Similarly Situated,
                                                                                EDCV12 - 02188 V AP (OPx)
                                                     PLAINIFF(S)
                                       v.
  MONSTER BEVERAGE CORPORATION,
  MONSTER ENERGY COMPANY, and DOES 1-20,
  inclusive,                                                                                   SUMMONS
                                                  DEFENDANT(S).




 TO: DEFENDANT(S):

          A lawsuit has been filed against you.

          With 2., days after service of             this sumons on you (not counting the day you received it), you
 must serve on the plaintiff an answer to the attached Ii complaint 0 amended complaint
 o counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
 or motion must be served on the plaintiffs attorney, Azra Z. Mehdi , whose address is
 9107 Wilshire Blvd., Suite 450, Beverly Hils, CA 90210 . If
                                                                                             you fail to do so,
judgment by default wil be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.


                                                                        Clerk, U.S. Distrct Court


     Dated: December 2012                                               By:
                                                                                           DENlsevo
                                                                                          Deputy Clerk

                                                                                        (Seal of the Court)



(Use 60 days if the defendant is the United States or a United States agency, or is an offcer or employee of the United States. Allowed
60 days by Rule 12(a)(3)J




CV-01A (10/1                                                 SUMONS
